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                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF LOUISIANA
                                              SHREVEPORT DIVISION


 BRUCE CHARLES, on behalf of himself                               *         CIVIL ACTION NO.:
 and all other similarly situated prisoners                        *         5:18-CV-00541-EEF-MLH
 at David Wade Correctional Center,                                *
                                                                   *         JUDGE ELIZABETH E. FOOTE
                                                                   *
              and                                                  *
                                                                   *
 The ADVOCACY CENTER,                                              *
                                                                   *         USMJ MARK L. HORNSBY
              PLAINTIFFS,                                          *
                                                                   *
 VS.                                                               *         CLASS ACTION
                                                                   *
 JAMES M. LEBLANC, et al.,                                         *
                                                                   *
              DEFENDANTS.                                          *

      PLAINTIFFS’ REPLY TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                    REGARDING EIGHTH AMENDMENT CLAIMS

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                                                   FACTUAL BACKGROUND

            Plaintiffs file this Reply to Defendants’ Motion for Summary Judgment Regarding Eighth

 Amendment Claims. Plaintiffs incorporate the accompanying Statement of Disputed Material

 Facts. As outlined, Defendants’ motion should be denied and this matter should proceed to trial.

                                                      LAW AND ARGUMENT


 I.         SUMMARY JUDGMENT LEGAL STANDARD

            A.         Summary Judgment Standard

            Summary judgment is appropriate only if the record discloses “that there is no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a matter of law.”

 Hulsey v. State of Tex., 929 F.2d 168, 170 (5th Cir. 1991). The court construes “‘all facts and

 inferences in the light most favorable to the nonmoving party.’” McFaul v. Valenzuela, 684 F.3d

 564, 571 (5th Cir. 2012) (quoting Dillon v. Rogers, 596 F.3d 260, 266 (5th Cir. 2010)). Because

 summary judgment is a final adjudication on the merits, courts must employ this device cautiously.

 Murrell v. Bennett, 615 F.2d 306, 311 (5th Cir.1980); see also Jackson v. Cain, 864 F.2d 1235,




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 1241 (5th Cir. 1989); Brunswick Corp. v. Vineberg, 370 F.2d 605, 612 (5th Cir. 1967). (“Summary

 judgment is a lethal weapon, and courts must . . . beware of overkill in its use.”).


        A “series of Supreme Court decisions” indicate that “summary judgment may not be

 appropriate in complicated and important litigation.” 10B CHARLES ALAN WRIGHT,

 ARTHUR R. MILLER, & MARY K. KANE, FEDERAL PRACTICE AND PROCEDURE CIVIL

 § 2732 (3d. ed. 2007), see, e.g., Kennedy v. Silas Mason Co., 334 U.S. 249, 256 (1948) (warning

 against using summary judgment “for deciding issues of far-flung import”). In particular,


        [c]ases premised on alleged violations of the constitutional or civil rights of plaintiffs
        frequently are unsuitable for summary judgment. As is true with other cases involving
        important public issues, courts may refuse to grant summary judgment in these actions
        because it is felt that a fuller record is necessary in order to be able to decide properly the
        issues involved. Further, the very nature of the claims involved often presents factual issues
        that require summary judgment to be denied.

 10B WRIGHT & MILLER, supra, at § 2732.2. See, e.g., Arkansas Right to Life State Political

 Action Committee v. Butler, 983 F. Supp. 1209 at 1215 (W.D. Ark. 1997) (denying summary

 judgment in part because, “in cases premised on alleged violations of a person’s constitutional

 rights, summary judgment may be inappropriate”).

        The movant always bears the initial responsibility of informing the district court of the

 basis for its motion and identifying those portions of the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with affidavits, if any, which it believes

 demonstrates the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

 317, 322 (1986); see also Triple Tee Golf, Inc. v. Nike, Inc., 485 F.3d 253, 261 (5th Cir. 2007).

        A non-movant need not carry the burden of proving their case. First Nat. Bank of Ariz. v.

 Cities Serv. Co., 391 U.S. 253, 288 (1968); see Cope v. Cogdill, 2021 WL 2767581, at *5 (5th Cir.

 July 2, 2021). Rather, a non-movant can defeat summary judgement by setting forth specific facts



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 showing that there is a genuine issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 25

 (1986); see also Triple Tee Golf, Inc., 485 F.3d 253 at 261. Rule 56(c) requires that sufficient

 evidence supporting the claimed factual dispute be shown to require a jury or judge to resolve the

 parties’ differing versions of the truth. Anderson, 477 U.S. at 248–49; see Cope, 2021 WL

 2767581, at *2. Rule 56(e) permits a proper summary judgment motion to be opposed by any of

 the kinds of evidentiary materials listed in Rule 56(c), except the mere pleadings themselves.

 Celotex, 477 U.S. at 324. However, a Rule 56 motion cannot be premised on facts that are

 inadmissible (Fed. R. Civ. Proc. 56(c)(2) and 56(c)(4)), as Defendants’ is. As demonstrated by the

 enormous volume of evidence in support of Plaintiffs’ position cited below, conditions at David

 Wade Correctional Center violate the Eighth Amendment to the Constitution. Summary judgment

 is inappropriate and this case must proceed to trial.

          B.       Defendants’ Motion is Reliant on Inadmissible Evidence

          On October 27, 2020, this Court entered an Order granting in part the Plaintiffs’ Motion in

 Limine to limit the evidence for trial in this matter as of March 15, 2020. 1 Plaintiffs filed that

 motion because otherwise discovery in this case would be never-ending and the parties could not

 proceed to an orderly trial. In its decision, the Court provided a method by which the Defendants

 could introduce evidence regarding changes to their policies or procedures through a motion to the

 Court, to be submitted by August 10, 2021.2 As of the date of this filing, no such motion has been


 1
   Rec. Doc. 378 (“Plaintiff’s motion, Record Document 336, was GRANTED in part and DENIED in part. The Court
 will limit the evidence at trial to conditions as they existed prior to March 15, 2020. However, the Court will entertain
 a motion to introduce additional evidence, as outlined above.” (The Court’s procedure to admit additional evidence is
 outlined here in FN 2)).
 2
   Id. (“Defendants shall file a motion to have the Court consider additional evidence at trial by August 10, 2021. This
 motion must be limited to evidence regarding changes to policies and procedures occurring after March 15, 2020. The
 motion should include updated expert reports, a list of evidence of changed policies and procedures Defendants wish
 to present, and the names of any witnesses Defendants would like to testify regarding these changes. Defendants shall
 describe the testimony they expect any witnesses to give at trial in sufficient detail for the Court to determine whether
 the evidence is relevant and worthwhile to justify an additional discovery period. If the motion is not sufficiently
 detailed, the Court may deny Defendants’ request.”).


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 submitted in this case. Instead Defendants’ have asserted new policies and facts as “undisputed

 facts” in this motion for summary judgment.

          Specifically, Defendants point to a number of developments at David Wade that were

 allegedly implemented March 2021, one full year after the limit for evidence in this case.3 The

 assertions not only disregard this Court’s Order but they have not been subject to discovery by

 Plaintiffs; these assertions were not included in deposition testimony by fact or expert witnesses

 and have not been the subject of cross-examination by Plaintiffs. Disputed statements relying

 completely on evidence outside of this Court’s Scheduling Order include, most importantly, the

 assertion that David Wade has fully implemented a new disciplinary and classification policy

 promulgated by the Department of Corrections. 4 Specifically, the allegations of new facts

 presented as undisputed facts include:

                  16. The key to progressing out of a restrictive housing status is
          demonstrating that the offender is less of a threat to other offenders, the staff, and
          the public.
                  17. An offender in preventative segregation is reviewed every 60-days by a
          multidisciplinary review board that includes a mental health clinician. 5
                  18. When an offender is placed in restrictive housing, he is afforded a phone
          call within 24-hours of that placement. 6
                  19. Offenders undergo a mental health appraisal within 7-days of
          assignment to restrictive housing. 7
                  20. Offenders in restrictive housing are given a minimum of two personal
          phone calls a month.



 3
   Id; Rec. Doc. 414-1.
 4
    See Rec. Doc. 414-1 referencing DOC Dept. Reg. No. IS-B-4; Rec. Doc. 414-3 Declaration of Warden Jerry
 Goodwin.
 5
   Every deposition conducted by Plaintiffs on this point indicated that the classification review board reviews occurred
 every ninety days, and that was supported by the review board documents reviewed by Plaintiffs in discovery. The
 Board was comprised of the head of South Compound and a representative from Classification. It was not "multi-
 disciplinary" in nature and did not include any representative of the mental health department. See Exh. 1, Deposition
 of Lonnie Nail 156:11-13, 159:12-14, 159:23-160:4; Exh. 2, Deposition of Kayla Sherman 116:2-8; Exh. 3, Deposition
 of Rodney Long 101:18-21. ALL of the evidence made available to the Plaintiffs points to this fact as being flatly
 false.
 6
   This provision is apparently contained in a written policy adopted March 2021, a full year after close of fact discovery
 in this matter. The policy actually in effect during discovery had no such provision.
 7
   Id.


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                  22. No offender in restrictive housing has been denied visitation because of
          his classification, a lack of space, or a backlog of any sort.8
                  24. As of March of 2021, the majority of offenders in restrictive housing --
          140 out of 234 -- had been in that status for less than 6 months.
                  25. Offenders with a mental health diagnosis defined by the DOC as a
          “Serious Mental Illness” (“SMI”) must be cleared by the mental health department
          before being placed in segregated housing.
                  26. A behavioral health assessment by a mental health provider is completed
          at least every 30 days for offenders with a “diagnosed behavioral health disorder
          and more frequently if clinically indicated.
                  27. Offenders in restrictive housing with no mental illness are reviewed at
          least every 60 days by a multidisciplinary board, including a mental health
          clinician, to move them to the least restrictive appropriate environment. 9
                  28. Offenders identified by DOC as having a diagnosed behavioral health
          disorder are reviewed every 30 days by a mental health professional to ensure these
          offenders are not decompensating in any way, and that the offender’s housing is
          proper.
                  32. DWCC has added two additional mental health positions -- one for a
          master’s level social worker and one for a licensed counselor -- which it is currently
          trying to fill.

 The points made by Defendants in their statement of facts numbering 4-11, 13-20, 22-32 are also

 disputed.10

          Although declarations by the moving party are admissible under Rule 56(a), the declaration

 of Warden Goodwin in the Defendants’ motion presents evidence that has been explicitly excluded

 by the Court in this case. His declaration includes allegations of changed policies and conditions

 including some matters that are very important to the case: changed numbers of people housed on

 extended lockdown (paras. 2 and 6), and alleging increased psychiatrist, psychologist and mental

 health contracts (paras. 9 - 11) to provide care for patients. The presentation of significant new


 8
    When Bruce Charles was on hunger strike and placed on standard suicide watch in extended lockdown, he was
 denied a visit from his aunt. Deposition of Bruce Charles 93:4-8. Further, visitation for the South Compound is on a
 first come, first serve basis therefore denial of visitation is always a possibility and the restriction of visiting privileges
 is not considered a disciplinary penalty, but recommendations to restrict may be made by classification. See Exh. 4,
 2020-2-28, EPM 02-04-008 Offender Visiting.
 9
   Rec. Doc. 414-1 p. 4-5; See fn. 5; moreover, there is in fact no “review board.” Classification status is evaluated on
 the papers such that prisoners are never allowed to attend and simply receive a paper notifying them of the board’s
 decision in the mail. There is no “live board,” much less an interdisciplinary one; Supra at Fn. 5 see e.g. Exh. 5,
 Deposition of Shawn Francis 17.
 10
    Rec. Doc. 414-1.


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 facts at this stage of the proceedings that fall outside of the scope of this Court’s temporal order is

 a clear attempt at unfair surprise.

        Fed. R. Civ. Pro. is clear that an affidavit “used to support… a motion must… set out facts

 that would be admissible in evidence….” Fed. R. Civ. Pro. 56(c)(4). A party may object “that the

 material cited to support or dispute a fact cannot be presented in a form that would be admissible

 in evidence.” Fed. R. Civ. Pro. 56(c)(2). Plaintiffs so object, and ask this Court to exclude from

 consideration in this motion any facts or evidence developed after the Court’s evidentiary cutoff

 date of March 15, 2020. Defendants’ attempt to introduce new facts—and to present them as

 undisputed-- runs afoul of the Court’s Order and also is an attempt to create an unfair advantage

 in this proceeding.

        Although Plaintiffs have repeatedly asked, Defendants have flatly asserted that they have

 no ongoing obligation to supplement discovery in this matter. Rather, the majority of the discovery

 supplementation received by Plaintiffs has been the result of court intervention and orders for

 Defendants’ production. Therefore, Plaintiffs have no written discovery in this matter dated later

 than November 2020. Deposition testimony only allowed Plaintiffs to traverse conditions at the

 prison up until March 2020. Summary judgment should not be granted where it may be the result

 of unfair surprise. See Bennett v. City of Eastpointe, 410 F.3d 810, 817 (6th Cir. 2005); Clorox v.

 Proctor & Gamble, 228 F.3d 24, 31 (1st Cir. 2000); Macklin v. Butler, 553 F.2d 525, 529 (7th Cir.

 1977). In considering a motion for summary judgment, courts have a duty to “ensure . . . that

 neither side in a dispute [has] unfairly surprise[d] the other with evidence that the other has not

 had time to consider.” Orsi v. Kirkwood, 999 F.2d 86, 91 (4th Cir. 1993).

        Defendants are presenting conditions that have allegedly changed since the close of

 discovery in this matter as though these supposed changes are undisputed facts, rather than




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 litigating on the records in this matter. This is precisely why Plaintiffs sought the limiting order it

 did from the Court; with Defendants refusing to supplement discovery, and with the practical

 burdens on this Court of attempting to discern the truth based upon an already voluminous record,

 there is no possibility of an orderly trial unless facts are cabined by discovery. Defendants’ current

 motion attempts to end-run the Court’s order and the basic rules of Federal Civil Procedure and

 would signal a return to “trial by ambush.”

        Any possible prejudice to the Defendants in forcing them to go to trial on the record already

 established is easily outweighed by the burden on the Plaintiffs and the Court in never-ending

 discovery. Even assuming arguendo that Defendants have modified all of the relevant conditions

 at the prison (a point clearly contested by Plaintiffs) injunctive relief would still be appropriate

 based upon the substantial and recalcitrant record of rights’ violations committed by the

 Defendants in this matter, and Plaintiffs deserve a trial on that issue.

        [V]oluntary cessation of allegedly illegal conduct does not deprive the tribunal of
        power to hear and determine the case, i.e., does not make the case moot.” United
        States v. W.T. Grant Co., 345 U.S. 629, 632, (1953). See Defunis v. Odegaard, 416
        U.S. 312, 317–18, (1974). Denial of injunctive relief might leave the INS “free to
        return to [its] old ways.” W.T. Grant, 345 U.S. at 632, 73 S.Ct. at 897. “It is the
        duty of the courts to beware of efforts to defeat injunctive relief by protestations of
        repentance and reform, especially when abandonment seems timed to anticipate
        suit, and there is probability of resumption.” United States v. Oregon State Medical
        Society, 343 U.S. 326, 333 (1952).

 Hernandez v. Cremer, 913 F.2d 230, 235 (5th Cir. 1990), see also Braggs v. Dunn, 257 F. Supp.

 3d 1171, 1263 (M.D. Ala. 2017) (rejecting defendant’s assertion during trial that they have begun

 to remedy the inadequacies, holding the Plaintiff’s claims were not moot and therefore suitable for

 resolution by the court). “The Eleventh Circuit, along with the Fifth Circuit and the Sixth Circuit,

 has suggested that a threat of recurrence sufficient to render a claim not moot should also be

 sufficient for the ongoing-violation requirement.” Id. at fn 92, see Nat'l Ass’n of Bds. of Pharm. v.




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 Bd. of Regents of the Univ. Sys. of Ga., 633 F.3d 1297, 1308–09 (11th Cir. 2011) (treating a dispute

 regarding whether the plaintiff alleged an ongoing violation as a mootness inquiry); K.P. v.

 LeBlanc, 729 F.3d 427, 439 (5th Cir. 2013) (rejecting the contention that a non-moot claim did not

 meet the ongoing-violation requirement, because “[that] theory, if accepted, would work an end-

 run around the voluntary-cessation exception to mootness where a state actor is involved”); Russell

 v. Lundergan–Grimes, 784 F.3d 1037, 1047 (6th Cir. 2015) (“[A]t the point that a threatened injury

 becomes sufficiently imminent and particularized to confer Article III standing, that threat of

 enforcement also becomes sufficient to satisfy ... Ex parte Young.”); see also Muhammad v. Crews,

 No. 4:14CV379-MW/GRJ, 2016 WL 3360501, at *6 n.5 (N.D. Fla. June 15, 2016) (Walker, J.)

 (summarizing the case law).”

        Plaintiffs ask this Court to find as “contested facts” the assertions of Defendants purporting

 changed conditions at David Wade. At the core of this case is Plaintiffs’ contention that Defendants

 do not provide adequate mental health care, and that Defendants house men in conditions of

 extreme isolation and brutality, which operate together to create conditions posing a serious risk

 of harm to the men at David Wade. Through discovery, Plaintiffs have unearthed hundreds of

 documents and pages of testimony that confirm their initial allegations and that paint a clear picture

 of a prison being unconstitutionally operated by the Defendants, to the grave detriment of the

 people housed there. Plaintiffs believe that they will prevail at trial. But for the purposes of the

 instant motion, there are numerous points of material fact for which plentiful evidence favorable

 to the Plaintiffs exists, such that Defendants’ motion for summary judgment should be denied. The

 Plaintiffs should be allowed to proceed to trial with their request for relief from this Court.




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 II.    EIGHTH AMENDMENT LEGAL STANDARD

        The conditions of confinement at David Wade Correctional Center violate the Eighth

 Amendment to Constitution. Although people are sent to prison as punishment, the prison

 environment itself may not be so brutal or unhealthy as to be in itself a punishment. Bell v.

 Wolfish, 441 U.S. 520, 539(1979). “[T]he unnecessary and wanton infliction of pain... constitutes

 cruel and unusual punishment forbidden by the Eighth Amendment.” Hope v. Pelzer, 536 U.S. 730

 (2002), citing Whitley v. Albers, 475 U.S. 312, 319 (1986).

         Plaintiffs asserting a claim of cruel and unusual conditions of confinement under the

 Eighth Amendment must prove that prison officials “1) show[ed] a subjective deliberate

 indifference to 2) conditions posing a substantial risk of serious harm to the inmate.” Gates v.

 Cook, 376 F.3d 323, 333 (5th Cir. 2004) (citing Farmer v. Brennan, 511 U.S. 825, 833-34 (1994)).

        A.      Subjective Deliberate Indifference

        The subjective component of the deliberate indifference standard inquires into whether

 prison officials knew of a risk of harm. Farmer, 511 U.S. at 848. This requires a state of mind

 amounting to recklessness as used in criminal law. Williams v. Hampton, 797 F.3d 276, 281 (5th

 Cir. 2015) (en banc) (citing Farmer, 511 U.S. at 839–40); see also Hacker v. Cain, No. 3:14-

 00063-JWD-EWD, 2016 WL 3167176, at *10 (M.D. La. June 6, 2016) (“An intent to harm or

 animus towards a particular inmate is not itself required so long as such reckless disregard for his

 or her medical needs can be shown.”). Mental health needs are no less serious than physical health

 needs in this context. Partridge v. Two Unknown Police Officers of City of Houston, Texas, 791

 F.2d 1182, 1187 (5th Cir. 1986).

        Systemic deficiencies in a prison’s health-care system can provide the basis for a finding

 of deliberate indifference at an institutional level. See Gates, 376 F.3d at 333. The fact that a risk




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 is obvious is sufficient evidence to allow a fact finder to conclude that prison officials knew of the

 risk. Farmer, 511 U.S. at 842; Hinojosa v. Livingston, 807 F.3d 657, 667 (5th Cir. 2015); Gates,

 376 F.3d at 333. Plaintiffs may also demonstrate knowledge through inference from circumstantial

 evidence. Farmer, 511 U.S. at 842. If there is proof of a problem that is “longstanding, pervasive,

 well-documented, or expressly noted by prison officials in the past, and the circumstances suggest

 that the defendant-official being sued had been exposed to information concerning the risk and

 thus ‘must have known’ about it, then such evidence could be sufficient to permit a trier of fact to

 find that the defendant-official had actual knowledge of the risk.” Hinojosa, 807 F.3d at 665

 (quoting Farmer, 511 U.S. at 842-43) (internal quotation marks omitted). Finally, willful blindness

 to the risk posed to inmates is not a valid defense to a deliberate indifference claim. See Farmer,

 511 U.S. at 843 n.8 (a prison official “would not escape liability if the evidence showed that he

 merely refused to verify underlying facts that he strongly suspected to be true, or declined to

 confirm inferences of risk that he strongly suspected to exist”).

          Defendants do not identify the subjective deliberate indifference component as an

 uncontested material fact in this proceeding. 11 Neither do they dispute the Defendants’ subjective

 knowledge of conditions or risk of harm in their supporting brief. 12 Instead, Defendants’ motion

 is premised on an argument that the objective facts indicate that Defendants “are affirmatively

 identifying, diagnosing, and treating mental health while making appropriate and necessary use of

 restrictive housing.”13 Defendants’ statement of uncontested fact and memoranda in support of

 their motion do not offer any argument as to the knowledge or lack thereof of the Defendants, and

 moves directly to a defense premised on the Defendants not having the requisite deliberate



 11
    Rec. Doc. 414-1.
 12
    Rec. Doc. 414-2.
 13
    Rec. Doc. 414-2 at 12.


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 indifference because they did not operate unconstitutional conditions of confinement. Plaintiffs

 can demonstrate requisite subjective deliberate indifference on the part of the Defendants, based

 upon the jurisprudence outlined supra. Plaintiffs dispute that the conditions at David Wade do not

 pose a substantial risk of serious harm to the men housed there, and dispute Defendants’ allegation

 that they “are affirmatively identifying, diagnosing, and treating mental health while making

 appropriate and necessary use of restrictive housing.”14

            B.      Conditions at David Wade Pose a Substantial Risk of Serious Harm

            To determine if prison conditions satisfy the Eighth Amendment’s objective component

 “[t]he deprivation alleged must be, objectively, sufficiently serious.... [T]he inmate must show that

 he is incarcerated under conditions posing a substantial risk of serious harm.” Farmer, 511 U.S. at

 834 (internal quotation marks and citations omitted). Additionally, the Eighth Amendment requires

 that “inmates be furnished with the basic human needs, one of which is reasonable safety.” Helling

 v. McKinney, 509 U.S. 25, 33 (1993) (quotation marks omitted). Courts ask whether the conditions

 are contrary to “the evolving standards of decency that mark the progress of a maturing

 society,” Farmer, 511 U.S. at 833–34, or whether the incarcerated person has been denied “the

 minimal civilized measure of life’s necessities.” Rhodes v. Chapman, 452 U.S. 337, 347 (1981).

 These standards are not static. Chandler v. Crosby, 379 F.3d 1278, 1289 (11th Cir. 2004).

            The Eighth Amendment not only protects against risk of harm to prisoners’ physical

 health, but also protects mental health care as a basic human need of which incarcerated people

 cannot be deprived. See, e.g., Calhoun v. DeTella, 319 F.3d 936, 940 (7th Cir. 2003); Meriwether

 v. Faulkner, 821 F.2d 408, 413 (7th Cir. 1987); Gates, 376 F.3d at 343, citing Partridge, 791 F.2d

 at 1187. “The same standards that protect against physical torture prohibit mental torture as well—



 14
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 including the mental torture of excessive deprivation.” Ruiz v. Johnson, 37 F.Supp.2d 855, 914

 (S.D.Tex.1999), rev’d on other grounds, 243 F.3d 941 (5th Cir.2001), adhered to on remand, 154

 F. Supp. 2d 975 (S.D. Tex. 2001). The Ruiz court, finding that prisoners had been subjected to “a

 systemic pattern of extreme social isolation and reduced environmental stimulation,” described the

 evolving standards of decency recognizing psychological pain as follows:

          In the past, courts faced with horrendous conditions of confinement have focused
          on the basic components of physical sustenance—food, shelter, and medical
          care. See Farmer v. Brennan, 511 U.S. 825, 114 S.Ct. 1970, 128 L.Ed.2d 811
          (1994). More recently, in light of the maturation of our society’s understanding of
          the very real psychological needs of human beings, courts have recognized the
          inhumanity of institutionally-imposed psychological pain and suffering. As the
          Third Circuit stated, “[t]he touchstone is the health of the inmate. While the prison
          administration may punish, it may not do so in a manner that threatens the physical
          and mental health of prisoners.” Young, 960 F.2d at 364 (emphasis added).

 Ruiz, 37 F. Supp. 2d at 914.

          Like mental health care, social interaction and environmental stimulation are basic human

 needs.

          The failure to identify them [as such] would be inconsistent with jurisprudence
          recognizing mental health as worthy of Eighth Amendment protection, and the
          requirement that Eighth Amendment protections change to reflect ‘evolving
          standards of decency that mark the progress of a maturing society.’ . . . In Ruiz, the
          district court found that the defendants were “deliberately indifferent to a systemic
          pattern of extreme social isolation and reduced environmental stimulation,” and
          social interaction and environmental stimulation have been identified as basic
          psychological human needs, either directly or indirectly, by other courts.

 Wilkerson v. Stalder, 639 F. Supp. 2d 654, 678 (M.D. La. 2007); citing Ruiz, 37 F. Supp. 2d at

 855, Rhodes, 452 U.S. at 346.

          The Eighth Amendment analysis is a very fact-based, institution-specific inquiry wholly

 dependent upon the combination of facts presented in a given case. “Conditions of confinement

 may establish an Eighth Amendment violation ‘in combination’ when each would not do so alone,

 but only when they have a mutually enforcing effect that produces the deprivation of a single,



                                                   15
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 identifiable human need . . . .”. Gates, 376 F.3d at 333. Although certain conditions standing alone

 might not rise to the level of a constitutional violation, a combination of conditions having a

 “mutually enforcing effect that produces the deprivation of a single identifiable human need such

 as food, warmth or exercise—for example, a low cell temperature at night combined with a failure

 to issue blankets,” may state a claim under the Eighth Amendment. Wilkerson, 639 F. Supp. 2d at

 679; citing Wilson v. Seiter, 501 U.S. 294, 305 (1991). Similarly, both the Supreme Court and the

 Fifth Circuit have recognized that certain conditions that would pass constitutional scrutiny if

 imposed for a short period of time may be rendered unconstitutional if imposed for an extended

 period of time. Wilkerson, 639 F. Supp. 2d at 679, citing Gates, 376 F.3d at 333, Hutto v.

 Finney, 437 U.S. 678, 686–872 (1978), see also Meriwether, 821 F.2d at 416 (“[T]he duration of

 a prisoner’s confinement in administrative segregation or under lockdown restrictions is certainly

 an important factor in evaluating whether the totality of the conditions of confinement constitute

 cruel and unusual punishment.”).

        In class actions challenging systemic health care deficiencies, a risk of harm to people’s

 health needs may be shown by proving “repeated examples of negligent acts which disclose a

 pattern of conduct by the prison medical staff,” or by proving there are such “systemic and gross

 deficiencies in staffing, facilities, equipment, or procedures” such that the inmate population is

 effectively denied access to adequate medical care. Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.

 1980) (citations omitted); Williams v. Edwards, 547 F.2d 1206, 1215-16 (5th Cir. 1977); Lawson

 v. Dallas Cnty., 112 F. Supp. 2d 616, 635 (N.D. Tex. 2000). The test is whether a cognizable risk

 of harm exists, not whether the consequences of that risk have manifested as harm; the goal of the

 courts is to prevent harm where such a risk exists. See Gates, 376 F.3d at 341 (emphasis added)

 (holding that an Eighth Amendment plaintiff did not have to prove that he was actually injured by




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 exposure to raw sewage, only that such exposure posed a serious health risk), Hudson v.

 McMillian, 503 U.S. 1, 4 (1992) (holding that excessive physical force against a prisoner can

 constitute cruel and unusual punishment even if the prisoner does not suffer serious injury).

        The risk associated with placing people in lockdown conditions of the severity of those

 implemented at David Wade has been widely recognized as unconstitutional by courts.

        For these inmates, placing them in the SHU [restrictive housing] is the mental
        equivalent of putting an asthmatic in a place with little air to breathe. The risk is
        high enough, and the consequences serious enough, that we have no hesitancy in
        finding that the risk is plainly unreasonable.’ Such inmates are not required to
        endure the horrific suffering of a serious mental illness or major exacerbation of an
        existing mental illness before obtaining relief. [. . .] A risk this grave—this shocking
        and indecent—simply has no place in civilized society.

 Madrid v. Gomez, 889 F. Supp. 1146, 1265–66 (N.D. Cal. 1995) (internal citations omitted),

 Braggs, 257 F. Supp. 3d at 1192 (finding mental health programs offered in restrictive housing by

 the Alabama Department of Corrections unconstitutional under the Eighth Amendment). As

 outlined below, the conditions at David Wade are violative of the Eighth Amendment. At this stage

 of the proceedings the burden is on the Defendants to demonstrate that there are no genuine issues

 of material fact warranting trial in this matter, and that they therefore are entitled to judgment as a

 matter of law. There is overwhelming evidence of risk of harm and actual harm to the Plaintiffs in

 this case; the level of suffering that has been endured by the men at David Wade is horrifying.

 Summary judgment is inappropriate.


 III.   ARGUMENT

        Conditions at DWCC pose a substantial risk of serious harm to people. The failure to

 provide adequate mental health diagnosis and treatment operates in tandem with stark and brutal

 conditions of confinement. Together, they operate to create a grave risk to the safety and lives of

 the men housed at David Wade.



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          A.       Inadequate Mental Health Care Creates A Substantial Risk Of Serious Harm

                   1.      Defendants do not appropriately identify or diagnose mental illness,
                   creating a substantial risk of serious harm.

          Identifying and responding to signs and symptoms of mental illness are crucial components

 of keeping people safe in prison.15 Staff at David Wade fail to adequately screen for and respond

 to mental illness. Defendants fail to screen for mental illness at the initial intake when the person

 arrives on extended lockdown. Defendants also fail to take any subsequent steps to screen for

 mental illness as it emerges in people subject to the extreme conditions of extended lockdown for

 months and years on end.

                            a)     Intake screening creates a substantial risk of serious harm by failing
                            to appropriately identify and diagnose mental illness

          Defendants maintain that because individuals are put through a rigorous screening process

 at Elayn Hunt Correctional Center (“EHCC”) that they are appropriately screened for mental health

 concerns prior to arrival at DWCC. However, although individuals who enter the Louisiana prison

 system are initially screened at EHCC, those same individuals are often transferred multiple times

 over the course of years before arriving at DWCC.16 For this reason, it is still important that David

 Wade have a functioning screening system.

          Defendants assert that when an individual is not provided the battery of initial testing at

 Elayn Hunt Correctional Center (“EHCC”) those tests are administered at DWCC and reviewed

 by a psychologist.17 Defendants reference Steve Hayden’s deposition as a basis for this fact, but




 15
    Exh. 18, Burns Report at p.30 (under treated and untreated symptoms of mental illness also result in increased
 instances of discipline which prolongs the time prisoners are held in extended lockdown); Exh. 29, Haney Report at
 p.78-79 (placing people with SMI in solitary is harmful to everyone, not just the individuals, including staff); Exh. 13,
 Pacholke Report at p.13-14 (practices at DWCC are inconsistent with industry standards for institutional safety).
 16
    Examples include: Ronald Brooks, D’Angilo Rubin, Vincent Dotson, Steve Givens, Carlton Turner, Larry Jones;
 See also Exh. 118, Responsive document to RFP No. 25, list of all individuals transferred to DWCC from LSP.
 17
    Rec. Doc. 414-1 - Defendants Material facts p.2 point 5.


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 Mr. Hayden’s testimony does not state that a psychologist does any level of review of Mr.

 Hayden’s paperwork. There is no evidence of a psychologist on staff or that a psychologist reviews

 any mental health paperwork.18 Staff deposed in March 2020 replied with a clear “no” when asked

 if there were psychologists on staff. 19 In fact, the record clearly reflects that Steven Hayden

 conducts the intake screening. 20 The record is devoid of mention of a psychologist who reviews

 records at DWCC, and as such this is a contested fact.

                           b)     Security staff do not play any role in identifying and diagnosing
                           mental illness, creating a substantial risk of serious harm.

         The security staff at DWCC have been clear in depositions that they are not qualified to

 identify signs and symptoms of mental illness. Assistant Warden and Chief of Security Jacob Baird

 testified that the mental health training provided to all staff at DWCC does not include how to

 identify signs and symptoms of mental illness.21 Mr. Baird went on to state “that’s Mental Health’s

 job. It’s not my job or any security’s job.”22 Mr. Baird further stated that he has never observed

 any signs or symptoms of anyone he believes to have mental illness in the South Compound. 23

 Sec. Pacholke opined that Baird’s testimony indicated either the annual mental health training is

 grossly inadequate or Asst. Warden Baird was simply not paying attention. 24 Col. Nail similarly

 testified that he had never seen anyone on the South Compound who needed more acute mental

 health care than they were receiving at DWCC. 25 As such, he had never made a request to mental

 health for an individual to be transferred to another facility. 26 Rodney Long testified that he is not


 18
    See Exh. 6, Deposition of Steve Hayden; Exh. 7, Deposition of Asst. Warden Dauzat; Exh. 8, Deposition of Ariel
 Robinson; Exh. 9, Deposition of Dr. Gregory Seal; Exh. 10, Deposition of James Burgos.
 19
    Exh. 10, Deposition of Burgos 190:4-6; Exh. 6, Deposition of Hayden 154:5-7.
 20
    Exh. 6, Deposition of Hayden 176:9-18.
 21
    Exh. 12, Deposition of Chief of Security, Jacob Baird 57:2-4.
 22
    Exh. 12, Deposition of Baird 57:6-7.
 23
    Exh. 12, Deposition of Baird 63.
 24
    Exh. 13, Pacholke Report at p.39.
 25
    Exh. 1, Deposition of Nail 138:10-14.
 26
    Exh. 1, Deposition of Nail 134:10-12.


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 qualified to say whether anyone with SMI is housed in segregation. 27 When asked about staffing

 a restrictive housing unit, Sec. Pacholke noted that there is benefit when mental health staff and

 the security staff communicate:

          They [a Psychologist] might come out and talk to the officers, how you doing today,
          who is causing you problems. And, you know, the officers may say stuff like, well,
          so and so is talking in there, but I can’t make heads or tails on what he's doing or
          this guy hasn’t showered in two months or, you know, this guy is making figurines
          out of what looks like feces, but the officers would begin to just learn the kind of
          indicators and behavioral cues that the population would demonstrate and it would
          give them a chance to intervene early on. 28


 Yet, at DWCC, because security staff is clear that it is not their role to recognize and respond to

 signs of mental illness, the onus falls entirely to the facility’s inadequate mental health staff. 29

                           c)       Mental health staff create a substantial risk of serious harm by
                           failing to appropriately identify and diagnose mental illness on an ongoing
                           basis.

          Because David Wade does not do robust mental health screening at intake, and because

 security staff is not trained to identify mental illness, if the line mental health staff does not

 properly identify needs, an individual goes undiagnosed and untreated. This can result in

 dangerous decompensation that creates a serious risk of harm to the individual.

          There are only a couple of ways that the mental health of incarcerated individuals is

 evaluated at David Wade. First, every 90 days, every individual on extended lockdown is supposed



 27
    Exh. 3, Deposition of Long 125:1-6.
 28 Exh. 95 Deposition of Pacholke 359:8-360:2.
 29
    Exh. 14, Deposition of Lt. Col. Vincent Coleman 74:4 - 75:22 (Stating that he calls security staff if someone is
 acting unusual, but unable to identify what behaviors would constitute as unusual.), 85:2-23 (In speaking about
 Anthony Caro, stated that he is not a mental health practitioner, and therefore he does not know what behaviors might
 constitute as manifestations of a mental illness); 108:6-25 (After acknowledging that he has received mental health
 training Mr. Coleman said that he still did not know what signs and symptoms of mental health to look for when
 making a decision to put someone on strip cell status.); See also, Exh. 15, Deposition of Capt. Matthew Elmore 47:5-
 25 (Noting that nothing in policy requires security staff to report to mental health when behaviors change
 dramatically); 48:1-11 (Never referred Tyle Blanchard to Mental Health despite noting that he acted out); 48:14-49:3
 (Never referred Jacoby Batiste to mental health despite noting that he acted out).


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 to be evaluated by a member of the staff using a form called “Interview with a Segregated

 Inmate.”30 Since September 2017 (after commencement of the Advocacy Center investigation of

 the facility) these forms have been completed on a March, June, September, December schedule.

 As such, the “interviews” are conducted of every person on extended lockdown approximately

 every 90 days.

            Second, if an individual is on the mental health caseload, staff will complete a “mental

 health progress note” when there is contact with mental health staff, which theoretically should

 report on how an individual is doing and screen for decompensation issues. Staff ostensibly make

 “rounds” on the tiers to complete these forms and to check on people on suicide watch, which

 should allow them to identify individuals needing care. Defendants’ own expert, Dr. Thompson,

 testified that screening before someone goes into segregation is a good idea to identify whether

 things have changed, and that the rescreening would be best completed by mental health staff.31

 These “ongoing screening” systems are broken. Because the systems do not work, and because

 they are functionally the only screening mechanisms available, mental health concerns go

 unidentified and untreated, to the great detriment of the men housed at DWCC.

                                     (1)    Mental health staff do not conduct regular or effective
                                     rounds to check on people, creating a substantial risk of serious
                                     harm.

            The primary way that mental health staff other than Dr. Seal have contact with patients is

 through “rounds,” which is a process whereby a member of the mental health staff is supposed

 walk onto the tiers and speak to individuals housed there. It is virtually impossible to ascertain

 when rounds are made and how long is spent with each patient because mental health staff do not

 adequately document mental health contacts. When mental health staff do rounds, they are not


 30
      Exh. 16, LDPSC Health Care Policy No. HC-27 - Segregation.



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 documented in any consistent form, in dispute from Defendants’ assertion in their statement of

 facts.32 Plaintiffs dispute that rounds are regular, and particularly dispute the implication that

 rounds provide accessible mental health care.

          Mr. Hayden testified that every person on the South Compound is seen every week, so he

 might be on a tier every day of the week because people are seen at different intervals for different

 reasons.33 However, Mr. Hayden also testified that he only sees patients four days a week, Monday

 through Thursday.34 Mr. Hayden testified that he does not document rounds.35 Further, there are

 no documents created by mental health staff documenting that they have made rounds unless there

 is substantial contact with an individual that causes a progress note to be completed. 36 Nothing in

 the paperwork would indicate that an interaction was the result of the staff person being on the tier

 making rounds.37 While there is a card swipe system on the tiers,38 it is inconsistently used by

 mental health staff. Warden Dauzat testified that she “will swipe [her] card occasionally,” 39 Steve

 Hayden stated he “sometimes” swipes his card 40, and Ariel Robinson stated she “sometimes”

 swipes her card.41 The security tier officers may inconsistently document when mental health staff

 enter and exit the tier, and the mental health staff are not documenting when they conduct rounds.

 Due to this breakdown of basic documentation, it is impossible to assess who visits the tiers and

 how often rounds are conducted. Plaintiffs report that they do not regularly see mental health staff


 32
    Rec. Doc. 414-1 p.6 point 30.
 33
    Exh. 6, Deposition of Hayden 58:1-7.
 34
    Exh. 6, Deposition of Hayden 94:21-24.
 35
    Exh. 6, Deposition of Hayden 60:25-61:6.
 36
    Exh. 7, Deposition of Dauzat 24:10-18; Exh. 6, Deposition of Hayden.
 37
    Exh. 6, Deposition of Hayden 250:24 - 251:7 (testifying that he does not document rounds or the majority of
 discussions that take place with people on South Compound).
 38
    This is a system utilized in many prisons whereby staff swipes an electronic device upon entry onto or passage to
 the end of a particular housing unit. The swipe card system is capable of tracking employee presence on the tier, and,
 if used at both the front and back of the tier, can document how long a staff member spent on the tier. David Wade
 has such a system. Although policy requires staff to use it, they do not.
 39
    Exh. 7, Deposition of Warden Dauzat 24:12.
 40
    Exh. 6, Deposition of Hayden 58:25-59:2.
 41
    Exh. 8, Deposition of Robinson 227:18-20.


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 on the tiers other than for the purpose of evaluating individuals who are on “suicide watch,” or that

 staff presence on tiers is cursory. 42

                                     (2)    The rounds that are conducted lack privacy, which results in
                                     a substantial risk of serious harm.

          Interactions during rounds lack privacy, and prisoners have no way to communicate

 confidentially with mental health staff. Class members testify that staff are so unprofessional that

 they will allow sensitive mental health disclosures to be weaponized against prisoners.

          It’s this-- this environment I’m in is new to me because the administration far as
          mental health, they conduct their meetings at the bars 43 instead of, you know what
          I’m saying, in private -- you know what I'm saying? ’Cause I might want to tell
          you, you know, I’m gonna kill myself or I might want to tell you something that’s
          really bothering me that you need to help me with, and I got other people next door
          to me listening to this here, they’re gonna make fun of me when you leave, then I
          got to be antagonized with that. So therefore, you not doing-- or the social workers’
          not doing what they’re supposed to do because I read that paperwork, as well, what
          they supposed to do and what they should not do in a cellblock setting. 44

  ***

          I might wanna say something very, you know what I’m saying, personal that other
          inmates feel, though, they want to use for later to, you know, antagonize me, or
          they call it bar fighting or to argue with me or to make jokes on me, you know what
          I’m saying? So -- so some of them things you might wanna just, you know what
          I’m saying, you feel like be personal about it, you know what I’m saying? You
          know, like you’re my attorney…..So it’s, you know, certain things that me and you
          might talk about that nobody else ‘posed to hear, you know what I mean? For
          protection of me and you, you know.”45


 42
    Exh. 11, Deposition of Burns 133:1-4 (rounds are so infrequent that people’s changing conditions are not identified);
 Exh. 18, Burns Report at p.14; Exh. 19, Excerpt of Deposition of Willie Dillon 65-67; Exh. 20, Deposition of Brennan
 Bellard 12:9-14 (no MH treatment other than Seal; does not see Steve Hayden on the tiers); Id. at 15:3-6 (has not seen
 Ariel Robinson making rounds); Id. at 19:5-25 (At other prisons, MH does rounds, check on people, talk alone/pull
 you out. "That don't really happen here… only time you see doc is for 3 minutes for meds); Exh. 21, Excerpt of
 Deposition of Kenneth Ratcliffe 24:17-24 (mental health make rounds on the tier once per month); Id. 25:1-6 (saw
 Ariel Robinson on the tier once); Exh. 22, Excerpt of Deposition of Damarcus Thomas 33 (staff do not make rounds
 on all tiers); Exh. 23, Excerpt of Deposition of Cody Doucet 44:3-4 (“The only time they come to see people is when
 people are on suicide watch.”).
 43
    “At the bars” is slang for “cell-front.” It means standing at the bars at the front of one’s cell.
 44
    Exh. 19, Excerpt of Deposition of Willie Dillon at 36.
 45
    Exh. 19, Excerpt of Deposition of Willie Dillon at 49. See also, Exh. 20, Excerpt of Deposition of Brennan Bellard
 14:1-13 (Didn’t raise other issues with social worker because visited at cellfront with cellie present, "don’t feel very
 comfortable explaining …”); Id. at 20:1-25 (on how staff will allow confidential information shared in mental health


                                                           23
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 If people request confidential visits, they are denied. 46

          Defendant Hayden in particular is ineffective and alienating; people either feel unheard,

 or, if they do speak with him, find him not responsive to their needs.47 He is often seen as

 dismissive and uncaring, or worse. Christopher Solomon testified that Steve Hayden was in the

 room when Mr. Solomon told Dr. Seal that his mother was addicted to crack. Hayden later called

 Solomon “crack baby” on tier, which led to various other taunting and name-calling by people

 who overheard.48 “And that affects a lot of a person’s mental health of being in those cells. Because

 if everyone on the tier is steady messing with you and you’re in your cell by yourself, that’s going

 to make you-- I mean, it makes you depressed.”49

          It seems commonsensical that people would not confide their serious mental health

 struggles in front of other people, much less in the challenging prison environment, in which even

 information has currency. The lack of privacy in rounds renders them an ineffective and

 unavailable means of accessing mental health services, at great risk of harm to the men housed at

 David Wade.

                                     (3)    Mental health staff do not adequate evaluation of people’s
                                     mental health, resulting in a substantial risk of serious harm.

          In addition to infrequency of contact and lack of confidentiality, what contact does occur

 on the tiers is rote, as evidenced by the anemic documentation and response to signs of

 decompensation. Documentation indicates that staff often copy-paste prior forms, and the




 consult to be used against an individual on the tier.); See also, Exh. 24, Excerpt of Deposition of Christopher Solomon
 49:20-25, 50:1-4.
 46
     Exh. 19, Excerpt of Deposition of Willie Dillon at 50.
 47
     Exh. 19; Excerpt of Deposition of Willie Dillon Depo at 48; Exh. 25, Excerpt of Deposition of James White 18, 24-
 25; Exh. 22, Excerpt of Deposition of Thomas Demarcus 32.
 48
     Exh. 24, Deposition of Christopher Solomon 50:11-25.
 49
    Id.


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 documents are so cursory as to provide no insight into an individual patient’s wellbeing. This

 means that any information that is actually gleaned from the infrequent and non-confidential

 rounds is never transmitted to colleagues, to Dr. Seal, to supervisors or to anyone else responsible

 for continuity in care.

         Mental health staff rounds are documented by forms called “Interview with a Segregated

 Inmate” and “Mental Health Progress notes.” These forms are completed with virtually no level

 of detail.50 They are completed this way regardless of whether a particular prisoner is in mental

 health crisis. Indeed, there are dozens of these forms on which mental health staff (particularly Mr.

 Hayden) report that a prisoner refused to speak to them, but the staff did not escalate the matter

 for additional attention, schedule the person for more robust intervention, or otherwise seek to

 change the course of treatment. 51 These documents are literally the only forms in an individual’s

 file that might note what is happening with a given prisoner from a mental health perspective. As

 mentioned, Dr. Seal sees patients every 90 days for a few minutes. If the forms do not contain any

 detail about how an individual is actually doing, there is no handoff of information on which Dr.

 Seal, any supervisor, the Department of Corrections or any other healthcare provider can ascertain

 a proper course of care. 52 No supervisory staff perform quality checks to assess whether these

 progress notes actually match the reality of the patient.53

         This failure to meaningfully screen and monitor prisoners throughout their incarceration--

 not just at intake-- results in a substantial risk of harm.




 50
    See Exh. 26, Sampling of Segregation Interview forms with the same comment between September 2017 to
 December 2018; See Exh. 27, Sampling of Mental Health Progress Notes with limited notes and no detail.
 51
    Exh. 28, Sampling of segregation interview forms with similar comments, refusals to speak.
 52
    Supra III.a.1.(b).
 53 Exh. 7, Deposition of Dauzat 35:4-15.




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                  2.      Defendants do not appropriately provide treatment for mental illness,
                  resulting in suffering and injury to the men at David Wade and creating a substantial
                  risk of serious harm.

         Due to the dangerous screening and identification deficiencies, DWCC grossly under

 identifies individuals needing mental health intervention. Even once an individual is identified as

 having a mental health need, however, the Defendants fail to provide necessary and life-saving

 care.

                           a)     Mental health staffing is inadequate, creating a substantial risk of
                           serious harm.

         Defendants assert as an uncontested fact that individuals are followed by a “dedicated

 mental health staff that includes a master’s level psychologist, two social workers, and licensed

 counselor.”54 Defendants cite to Dr. Thompson’s report to substantiate this statement. However,

 there are no psychologists who provide services at DWCC -- according to the mental health staff

 who work at DWCC.55 More importantly, Defendants’ representation that all mental health staff

 catalogued on the roster provide services to the class of individuals who are Plaintiffs in this case

 is inaccurate based upon deposition testimony in this matter.

         The only individuals actually licensed by the State of Louisiana to provide mental health

 “treatment” per se at David Wade are Dr. Seal (the contract psychiatrist), Warden Dauzat (a

 licensed clinical social worker and the Assistant Warden over Mental Health), and James Burgos,

 a licensed professional counselor.

         Warden Dauzat does not herself provide direct treatment. Her job description includes

 overseeing and supervising the mental health department, serving as the Prison Rape Elimination

 Act coordinator,56 supervising Warden Kayla Sherman and monitoring the functions of the


 54
    Rec. Doc. 414-1 p.2 point 7.
 55
    Exh. 6, Deposition of Hayden 31:7-9; 31:10-12; 31:15-17.
 56
    Exh. 7, Deposition of Dauzat 10:23-25.


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 Classification and Education Departments. 57 By her own admission, Warden Dauzat provides

 direct care to patients only occasionally, delivering a death message or grief counseling or meeting

 with individuals in group therapy. She stated that she has occasionally met with individuals on

 suicide watch or mental health observation, but she could not recall the last time she had provided

 treatment to anyone.58

          The mental health staffing for the buildings at issue in this litigation has shifted over this

 litigation. Initially mental health staffing was comprised only of two people59 until January 2019,

 at which time Ariel Robinson stopped working on the South Compound, 60 and only Steve Hayden

 was providing mental health services to all 400 people on the South Compound. Subsequently,

 James Burgos was hired to supplement the work of Mr. Hayden, but his job duties were unknown

 even to his supervisors and close colleagues.61 Even Mr. Burgos is unclear on who his caseload is

 and his responsibilities,62 as are the Plaintiffs. It seems that Mr. Hayden and Mr. Burgos are the

 primary persons responsible for delivering services to all individuals housed on the South

 Compound which includes obligations to screen everyone to identify new or worsening signs of

 mental illness, conducting segregation interviews every 90 days to monitor new or worsening signs

 of mental illness, providing care to individuals who engage in self harm or threaten self-harm by

 placing them on suicide watches, amongst a litany of other duties. These duties are in addition to

 their obligations on the North Compound, which include providing group therapy at least once a




 57
    Exh. 7, Deposition of Dauzat March 3, 2020 6:16-17; 7:6-7.
 58
    Exh. 7, Deposition of Dauzat 14:10-17. See also, Exh. 24, Excerpt of Deposition of Christopher Solomon 24:25-25.
 59
    Exh. 6, Deposition of Hayden 31:20-25; Exh. 8, Deposition of Robinson 13:20 - 14:2.
 60
    Exh. 7, Deposition of Dauzat 83:3 - 84:7.
 61
    Exh. 6, Deposition of Hayden 73:2-8 (stated he does not know definitively what Burgos’ job entails); Exh. 7,
 Deposition of Dauzat 38:2-18 (stated she does not know Burgos’ job duties) (despite being his direct supervisor); Id.
 39:2-10 (intention for Burgos to work with sex offender program in general population on North Side).
 62
    Exh. 10, Deposition of Burgos 14:23-24 (stated he works on both the North and South Compounds).


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 week and seeing other patients. 63 Defendants’ representation to this Court that all individuals who

 are considered mental health staff at DWCC are available to individuals on the South Compound

 is a mischaracterization. In fact, Defendants’ own expert identified staffing shortages.64

          Defendants’ assertion that there are social workers at DWCC was refuted by their own

 expert, Dr. John Thompson. 65 In sum, Defendants’ characterization of the staffing level actually

 providing mental health services to the Plaintiffs is a contested fact, and it is material to whether

 constitutional care is being provided at David Wade. Summary judgment is inappropriate on this

 point.

                           b)     Psychiatric staffing is inadequate, creating a substantial risk of
                           serious harm.

          There are only two ways an individual housed on extended lockdown at David Wade may

 be seen by mental health staff. One is to be placed on a visit list to see Dr. Seal, the prison’s

 contract psychiatrist, the other is rounds.

          Dr. Seal visits the prison every two weeks.66 During each visit he is on-site for 5 hours,

 arriving around 9:00 am and leaving around 2:00 pm.67 Each visit, he sees 32-36 patients.68 His

 time is divided between the North Compound and the South Compound.69 Tt best, on each visit he

 sees approximately 32-36 people for approximately 5-10 minutes each. The purpose of his visit is

 to evaluate medication needs and adjust medication. 70 Although Dr. Seal testified that he would



 63
    Exh. 10, Deposition of Burgos 14:23-24; 18:21-23; 22:17-23; 99:14-16; 143:3-13 (sees patients on north compound;
 anger management psychotherapy group and sex offender group for north side; not available for extended lockdown);
 Exh. 6, Deposition of Hayden 40:2-4 (sees patients on the North side).
 64
    Exh. 17, Deposition of Thompson 197:15 - 198:18.
 65
    Exh. 17, Deposition of Thompson 213:19-24.
 66
    Exh. 6, Deposition of Hayden 78:4-12; Exh. 8, Deposition of Robinson 39:18-19; Exh. 10, Deposition of Burgos
 55:8-9.
 67
    Exh. 9, Deposition of Gregory Seal 101:19-20, 116:11-15.
 68
    Exh. 9, Deposition of Seal 103:20-21.
 69
    Exh. 9, Deposition of Seal 104:6-9.
 70
    Exh. 9, Deposition of Seal 19:15-18; 107:15-20.


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 meet with patients as long as necessary,71 the practical limitations of the structure of his visits there

 means that he has 10 hours a month to see everyone on the mental health caseload at David Wade

 Correctional Center, a prison with a population of roughly 1,200.72 This interaction, then, is

 necessarily fairly cursory and limited in scope. 73 For this reason much of the actual patient

 interaction and evaluation necessarily falls to line mental health staff.

          Dr. Seal is the only licensed psychiatrist whose role is only to prescribe medications and

 provide a mental health diagnosis. Dr. Seal testified he is on campus at DWCC approximately 10

 hours a month with the expectation he is providing psychiatric care to all individuals at DWCC,

 both the North and South Compounds.74 Dr. Seal does not independently evaluate each individual

 nor does he check to make sure each individual is receiving medications he has prescribed, 75

 instead relying upon Mr. Hayden and Mr. Burgos to provide him all the information he needs. This

 level of mental health care falls below the constitutional floor, creates a substantial risk of serious

 harm, and has resulted in catastrophic consequences for individual members of the class.

                           c)       There are no mental health treatment plans, creating a substantial
                           risk of serious harm.

          The basic underpinning of the provision of mental health is a plan of treatment, established

 by qualified professionals after evaluating the needs of a sick patient. At David Wade an individual

 course of treatment is memorialized as a “treatment plan.” Policy promulgated by both the

 Louisiana Department of Public Safety & Corrections (LDPSC) and DWCC require that mental




 71
    Exh. 9, Deposition of Seal 140:8-9.
 72
    Exh. 17, Deposition of Thompson 173:2-5.
 73
    Exh. 9, Deposition of Seal 107:15-20; Exh. 17, Deposition of Thompson 188:12-14 (Seal’s progress notes need
 more detail and should lay out treatment plans); Exh. 11, Deposition of Burns 133:13-16; Exh. 29, Dr. Craig Haney
 Declaration p.76-77, para. 133; Exh. 20, Excerpt of Deposition of Brennan Bellard 18:2-4 (Seal “ain’t really applying
 the psychiatry. He’s just trying different meds to work.”).
 74
    Exh. 9, Deposition of Seal 104:6-9.
 75
    Exh. 9, Deposition of Seal 58:21-25.


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 health treatment plans be individualized for all individuals with a level of care 1, 2, 3, or 4.76

 However, the treatment plans created for each individual housed on the South Compound are not

 individualized. Defendants advance as an undisputed fact that “a treatment plan is created for each

 offender.”77 This fact is disputed: every expert witness to this case agrees that the treatment plans

 at David Wade are dangerously inadequate because they are not “created for each offender.”

 Rather, the facility implements the exact same treatment plan for every person housed there,

 regardless of their individual mental illness, disability, or level of need. This practice is dangerous

 because individual mental health needs are neither identified nor met.

          DWCC mental health staff all testified at deposition that each of these treatment plans

 contains the same terms. 78 Short term goals are: maintain compliance with all institutional rules

 and regulations; maintain appropriate level of functioning, and increase insight in order to be

 moved to a less restrictive environment. Each of these treatment plans also contain the same long-

 term goals, which are: comply with medications prescribed and advise staff of any adverse effects;

 identify stressors that create behaviors warranting segregation; consistently display appropriate

 behavior in accordance with institutional regulations.79 The plans are in no way tailored to meet

 the needs of individual patients. During depositions, Steve Hayden testified that the mental health

 staff at DWCC have been using this template for the nearly a decade that he has been employed at

 DWCC and he cannot recall who created it. 80 Dr. Craig Haney observed that “the “treatment plans”

 placed in the files of different prisoners at DWCC are virtually identical, unchanging, and pro



 76
    Exh. 35, 2019-2-13 - EPM 03-02-003 - Mental Health Program at p.7-9.
 77
    Rec. Doc. 414-1 p.3.
 78
    Exh. 6, Deposition of Hayden 229:22-230:6; Exh. 7, Deposition of Dauzat 68:2-8; Exh. 8, Deposition of Robinson
 202:10-17; 203:16-204:1.
 79
    Exh 36, in globo, sampling of 153 treatment plans received in discovery, each with identical short- and long-term
 goals.
 80
    See Exh. 6, Deposition of Hayden 242:2-6; Exh. 8, Deposition of Robinson 201:1-4 (when asked if treatment plans
 were ever updated, she did not understand).


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 forma, despite the fact that the prisoners have significantly different diagnoses.” 81 “They virtually

 all consist of three generic short-term and long-term goals” and describe the same goals listed

 above.82 Dr. Haney points out that it is inaccurate to call them “treatment plans” -- “there is no

 mention of actual mental health ‘treatment’ -- no counseling, individual or group; therapy, or

 treatment-related activities.”83 Dr. Haney also states “nor do the treatment plans mention any staff

 monitoring to detect adverse reactions to isolated confinement or worsening symptoms.” 84

         Dr. Burns similarly observed that “DWCC mental health treatment plans are not

 individualized: all of them say literally the exact same thing and contain no mention of mental

 health interventions whatsoever.” 85 Dr. Burns noted that “they do not reflect an individualized

 assessment by a qualified mental health professional, treatment interventions (type, frequency or

 provider) or progress toward goal attainment.”86 Dr. Burns testified that, in her expert opinion, a

 mental health treatment plan needs to be individualized, which means the short and long term goals

 need to be specifically tailored to the individual. Dr. Burns explained that individualized treatment

 plans are important “because it should deal with the individual and their particular situation and

 problem. Not that some people won’t have similar problems, which is why these places have

 moved to conducting group treatment because it’s more efficient from a staff perspective if you

 have four people that need anger management, for example, and that’s listed on their four treatment

 plans.”87 Individualized treatment plans are “the standard of care for mental-health treatment,

 period, inside prisons and outside.” Cookie-cutter treatment plans are just not acceptable. 88



 81
    Exh. 29, Dr. Craig Haney Report p.52 ¶80.
 82
    Exh. 29, Dr. Craig Haney Report p.52 ¶80.
 83
    Exh. 29, Dr. Craig Haney Report p.52 ¶80.
 84
    Exh. 29, Dr. Craig Haney Report p.52 ¶80.
 85
    Exh. 18, Dr. Katherine Burns Report p.17-18.
 86
    Exh. 18, Dr. Katherine Burns Report p.18.
 87
    Exh. 11, Deposition of Burns 165:7-14.
 88
    Exh. 11, Deposition of Burns 167:24-168:1-6.


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            Even Dr. John Thompson, expert for the Defendants, testified that “if a treatment plan for

 everybody on a particular unit says the exact same thing, then it’s not necessarily individualized.”89

 Dr. Thompson described what an example of an individualized treatment plan would include,

 particularly focusing on the fact that “an individualized approach rather than a cookie cutter

 approach” would be necessary.90 Dr. Thompson agreed that the treatment plans created and utilized

 at DWCC were not individualized. He testified that he had discussed the issue with Warden Dauzat

 to address the problem and develop individualized mental health treatment plans. However, despite

 the early identification of this issue David Wade has persisted in using the same, identical, non-

 individualized “treatment plans” since Plaintiffs filed this suit in February 2018; Plaintiffs have

 seen no evidence of any change to the treatment plans, despite the dangerous deficiencies having

 been pointed out to Defendants over three years ago.

            As such, Plaintiffs vigorously dispute Defendants’ assertion that treatment plans are

 created for every individual. The plans employed by David Wade do not meet a definition of a

 “treatment plan,” according to every mental health expert in this case, and they are not individually

 created. The experts all agree that individualized mental health treatment plans are necessary to

 the safe treatment of patients, and that DWCC needs to change their policy, practice, and procedure

 to ensure that the plans provide for “treatment” and are individualized. The failure to provide

 individuals treatment plans creates a substantial risk of harm, because there is functionally no

 agreed upon course of treatment for a given individual with a serious mental illness or disability.

 Untreated mental illness creates a substantial risk of harm that the Eighth Amendment seeks to

 prevent.




 89
      Exh. 17, Deposition of Thompson 191:3-5.
 90
      Exh. 17, Deposition of Thompson 192:2-4.


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            Importantly, Warden Dauzat, the individual responsible for overseeing David Wade’s

 mental health program, did not think the plans were in any way deficient. Warden Dauzat agreed

 that a mental health treatment plan “should be individualized to be effective.” 91 But when deposed

 about the treatment plans provided at David Wade, Warden Dauzat defended the point that they

 were individualized, despite the fact that they clearly are rotely verbatim, and testified that whether

 or not they are considered individualized is a matter of opinion. 92 Warden Dauzat is responsible

 for the overall administration and supervision of the provision of mental health at David Wade. 93

 She is the person to whom all other mental health staff report.94 She not only approved of identical

 treatment plans for every individual regardless of diagnosis, she thought that was individualized

 treatment. Her testimony evidences why there is a disputed fact about the risk of harm created by

 the lack of treatment plans, and by the leadership of the mental health department at David Wade

 generally. If the warden over the department refuses to acknowledge a deficiency identified by

 every expert in this case, Court intervention is necessary, and summary judgments should not be

 granted.

                          d)     No treatment or programming is available to individuals housed on
                          extended lockdown other than medication, creating a substantial risk of
                          serious harm.

         David Wade offers no mental health treatment to individuals housed in solitary

 confinement other than the scattershot and dangerous medication administration identified supra.

 There is no programming and there is no counseling.95 This is a disputed fact, as Defendants




 91
    Exh. 7, Deposition of Dauzat 69:20-22.
 92
    Exh. 7, Deposition of Dauzat 69:23 - 70:2.
 93
    Exh. 37, Deposition of Angie Huff 63:6-7.
 94
    Exh. 6, Deposition of Hayden 62:16-17; Exh. 8, Deposition of Robinson 43:19-21; Exh. 10, Deposition of Burgos
 45:1-2.
 95
    Exh. 38, Excerpt of Deposition of Quentin Moran 31-32.


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 present that individual counseling is available and that written materials are available as

 programming.

         Individuals housed on the South Compound are not eligible to participate in group therapy

 programming, per DWCC EPM# 03-02-005.96 There is group therapy programming available for

 individuals housed on the North Compound. However, Ariel Robinson testified that individuals

 who are receiving group therapy while housed on the North Compound are discontinued from

 group if they are transferred to extended lockdown on the South Compound.97 Warden Dauzat

 testified that there is no group counseling available for individuals housed on the South Compound,

 including individuals housed in N1. 98 Steve Hayden likewise testified that group therapy is not

 available to individuals housed in segregation. 99 Group therapy is not available for individuals

 housed on the South Compound.100

         In addition to not offering group therapy or group programming, individuals on extended

 lockdown are offered no out-of-cell programming whatsoever. Dr. Haney testified that “the mental

 health care, which the prisoners receive in those units, is inadequate. There isn’t any provision

 made for group therapy or out-of-cell programming for those prisoners.”101 The provision of some

 congregate programming is crucial for people with mental illness. Dr. Haney stated “that’s why

 it's so important to provide programming in restrictive housing, why it’s so important to provide

 mentally ill prisoners with real therapy, not just medication, but group therapy, meaningful




 96
    See also Exh. 39, Dr. John Thompson Report at 32.
 97
    Exh. 8, Deposition of Robinson 165:12-16.
 98
    Exh. 7, Deposition of Dauzat 15:17-22.
 99
    Exh. 6, Deposition of Hayden 126:14-17.
 100
     Exh. 8, Deposition of Robinson 164:9-25 (no group therapy and no GED program on South Compound); Exh. 40,
 Deposition of Haney 126:14 - 127:3 (no group therapy and no classroom settings); Exh. 7, Deposition of Dauzat 39:8-
 10 (sex offender group not available); Id. 80:11-20 (AA/NA and anger management programs not available).
 101
     Exh. 40, Deposition of Haney 152:11-14.


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 individual contact, so that when they do get released they’re not taking their psychiatric or mental

 health problems back into general population.” 102

         Defendants’ position seems to be that providing out-of-cell programming for the

 individuals on extended lockdown at David Wade is not possible from a security perspective. This

 is a disputed fact. Dr. Burns provided some insight into how other facilities provide group

 programming and therapy, explaining “they’ve made some modifications to furniture, for example,

 to be able to have a number of people out in group at the same time safely in restraints.” 103 In fact,

 group therapy is beneficial from a staffing perspective; when you have multiple people with the

 same type of treatment in their plans “you could see them all at the same time as opposed to pulling

 them out and doing an individual session with each of them, so it really does help staffing.” 104

 Secretary Pacholke provided similar testimony. He noted that at WADOC he was involved with

 developing ways to pull people out of isolation and restrictive conditions to provide programming

 on a larger scale to address the issues that led to individuals cycling in and out of restrictive

 housing, and to allow them to return to general population. 105 Defendants have not taken any steps

 to implement or even consider modifications that would allow any out-of-cell programming to

 take place for individuals on the South Compound.

         In addition to not offering any out-of-cell group therapy or programming, David Wade

 offers no out-of-cell individual programming or therapy at all. There is no question but that such

 therapy or programming would help prevent additional harm to the men struggling with mental

 illness on extended lockdown; Dr. Seal recognizes the importance of providing a combination of




 102
     Exh. 40, Deposition of Haney 208:13-19.
 103
     Exh. 11, Deposition of Burns 163:20-23.
 104
     Exh. 11, Deposition of Burns 165:14-17.
 105
     Exh. 13, Pacholke Report at p.12-13.


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 medications and psychotherapy as opposed to medication alone. 106 And yet Warden Dauzat

 testified that she cannot recall seeing a treatment plan that included receiving regularly scheduled

 individual counseling.107 Indeed, for a brief period of time David Wade piloted a program that

 included a feature of individual meetings with staff to establish individual goals; it was called

 “transition treatment planning,” or “TTP.” TTP was a “program that was implemented to speak to

 the [individuals] that were...problematic [individuals] that weren’t progressing past

 segregation.”108 The purpose was to help these individuals “move forward, to help figure out what

 the issues were, to try to talk to...them and get the gist of what was going on, what the hang-ups

 are, where the pitfalls are for them” 109 with the goal of helping people transition out of

 segregation.110 One feature of that program was that participants “received individual

 counseling.”111 The program was intended to last either until the individuals refused to participate

 further or they transitioned out of segregation.112 This implication is that individuals who were not

 part of the transition treatment plan program did not receive individual counseling. The treatment

 offered to individuals in the TTP was even described as being different from what is available to

 everyone generally, that people are “actually pulled into a courtroom and [mental health staff]

 would actually discuss their behavior in depth.” 113 Despite reporting to be the only individuals

 providing treatment for this program, neither Hayden nor Robinson were able to identify the




 106
     Exh. 9, Deposition of Seal 24:19-25:2.
 107
     Exh. 7, Deposition of Dauzat 111:12-16; See Exh. 18, Burns Report at p.17-18 (DWCC treatment plans do not
 include treatment interventions such as individual therapy, group therapy, etc.).
 108
     Exh. 6, Deposition of Hayden 231:12-17; Exh. 8, Deposition of Robinson 208:10-15 (purpose was to give people
 in segregation more treatment in order to be released or moved to a less restrictive environment).
 109
     Exh. 6, Deposition of Hayden 231:18-23.
 110
     Exh. 6, Deposition of Hayden 231:24 - 232:7.
 111
     Exh. 7, Deposition of Dauzat 126:10-15.
 112
     Exh. 6, Deposition of Hayden 233:11-14.
 113
     Exh. 8, Deposition of Robinson 209:4-10.


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 eligibility criteria or explain how individuals were chosen to participate in TTP. 114 That program

 was discontinued, staff cited staffing shortages and not enough time as possible reasons. 115

         There is no authority or evidence for the assertion made by Defendants’ that individual

 counseling is available to the men on extended lockdown; this is a disputed fact that Plaintiffs

 intend to disprove at trial. Warden Dauzat’s testimony on the provision of individual counseling

 was very confusing; she asserted that passing an individual and asking how they are doing could

 constitute individual counseling. 116

         Despite Defendants’ assertion that individual counseling is available, a number of

 individuals testified at deposition that individual counseling is not an available option despite their

 individual requests. For instance, Willie Dillon testified that he was only provided with

 medication, despite his requests to also receive individual counseling. 117 Theron Nelson

 additionally testified that individual counseling was not available to him and he suffers in his

 cell.118 Brennan Bellard testified that the only mental health treatment available is medication,

 nothing else.119 Quentin Moran testified that although he requested help, nothing was available--

 there are no programming options on extended lockdown.120 In the case of Willie Dillon, he knew

 he needed conversation therapy to feel better, “so that we can identify what’s going on with me

 first because I don’t know what’s going on with me, but I know something is going on.” “A class

 or something? Some information you could send me that I could read to tell me what I’m feeling




 114
     Exh. 6, Deposition of Hayden 232:14-20; Exh. 8, Deposition of Robinson 209:22-24.
 115
     Exh. 6, Deposition of Hayden 234:20-21; Exh. 8, Deposition of Robinson 209:25 - 210:6.
 116
     Exh. 7, Deposition of Dauzat 128:13-25 (describing talk therapy as engaging your client in any type of casual
 conversation).
 117
     Exh. 19, Excerpt of Deposition of Dillon 36-38
 118
     Exh. 41, Excerpt of Deposition of Nelson 13-14.
 119
     Exh. 20, Excerpt of Deposition of Bellard 12:9-14
 120
     Exh. 30, Excerpt of Deposition of Quentin Moran 31-32.


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 to try to identify if I can—I’m telling you what I’m going through because I don’t know what I’m

 going through.” No materials were available. 121

         Mr. Dillon was transferred from David Wade to Elayn Hunt for a court trip for a period of

 5 or 6 months. While at EHCC he was taken off of the medication that Dr. Seal had given him

 because he felt that doctor truly listened to him and gave him other options. Talking to the social

 worker at EHCC profoundly helped him. Then he was sent back to DWCC and again the only

 treatment available to him was medication. 122

         Likewise, Shawn Francis, who is diagnosed bipolar schizophrenic and reports

 hallucinations, reports that he needs something “to help (him) cope” with the cells-- like something

 to read or a radio to help his mind while he is housed in the lockdown cell. 123 Chris Solomon asked

 the mental health staff whether there is any type of treatment other than medication. Steve Hayden

 informed him that his only option was to see Dr. Seal. When he saw Dr. Seal, he asked if there

 was any treatment other than medication; Dr. Seal said no.124 And after evaluating the mental

 health program at David Wade, Dr. Burns concluded that there is no treatment at David Wade

 other than medication.125

         In sum, no group therapy or individual therapy is provided for people with mental illness

 on extended lockdown.126 Any assertions by Defendants to the contrary are disputed. This therapy




 121
     Exh. 19, Excerpt of Deposition of Willie Dillon 36-37.
 122
     Exh. 19, Excerpt of Deposition of Willie Dillon 39-40.
 123
     Exh. 5, Excerpt of Deposition of Shawn Francis 33-34.
 124
     Exh. 24, Excerpt of Deposition of Christopher Solomon 53-54; see also, Id. at 52:7-25 (describing treatment that
 would help him).
 125
     Exh. 18, Burns Report at p.3.
 126
      Exh. 42, DWCC EPM# 03-02-005; see also Exh. 39, Thompson Report at 32; Exh. 8, Deposition of Robinson
 165:12-16; Exh. 7, Deposition of Dauzat 15:17-22; Exh. 6, Deposition of Hayden 126:14-17.


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 is important to preventing further injury and to mitigating the psychological harm that stems from

 prolonged cell-confinement.127

         Plaintiffs flatly reject the notion that David Wade prisoners are such high security risks that

 additional mental health care or therapy cannot be provided, as has been implied by the

 Defendants. High security, maximum custody institutions are able to provide programming and

 care for people even in the most serious of carceral settings. 128 Indeed, the very men housed at

 David Wade have been provided with programming-- including group therapy-- when housed in

 maximum security settings in other Louisiana prisons.129 Noel Dean, held for years at David Wade

 without programming, is now at Elayn Hunt and attending group programming in shackles, which

 he reports is really helping him. 130 Cody Doucet, held for years at Wade in very deteriorated

 conditions, testified that at Elayn Hunt he was able to get help and speak with a social worker, and

 that he had more ready access to mental health staff to help him. 131 David Wade is out of sync with

 what happens even at other Louisiana DOC facilities,132 and the Defendants have chosen not to

 bring it in line with practices used elsewhere.

         Finally, Plaintiffs dispute whether Defendants provide any helpful in-cell materials to the

 men housed on extended lockdown. Plaintiffs propounded a discovery request for all

 correspondence course materials and curriculum available to individuals on extended lockdown. 133

 Defendants produced only a packet titled “Understanding and Reducing Angry Feelings” which is

 self-described as “a collection of materials for leading counseling sessions.” 134 There were no other


 127
     Exh. 29, Haney Report at p. 29 para.41, p.44 para.64, p.46 para.67, p.62 para.102; Exh. 18, Burns Report p.10;
 Exh. 13, Pacholke Report at p.12.
 128
     Exh. 11, Deposition of Burns 163:14 - 164:3; Exh. 13, Pacholke Report at p.12-13.
 129
     Exh. 19, Excerpt of Deposition of Willie Dillon 52-53.
 130
     Exh. 43, Excerpt of Deposition of Noel Dean 29.
 131
     Exh. 23, Excerpt of Deposition of Cody Doucet 49-50.
 132
     Exh. 19, Excerpt of Deposition of Willie Dillon, 68.
 133
     Exh. 44, Plaintiffs’ Eighth Set of Requests for Production no. 114.
 134
     Exh. 45, Understanding and Reducing Angry Feelings packet


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 materials produced. Prisoners testified that they asked for programming or therapy and none were

 provided.135 Exactly one prisoner has reported that he asked for written anger management

 materials and that he received them. 136 The mental health staff testified that they have rarely, if

 ever, provided an individual with any treatment materials or self-help materials.137 Mr. Burgos

 represented that individuals could request access to mental health materials in their cells, 138

 although he had not actually provided any materials to anyone. 139

          Plaintiffs simply dispute that such materials are truly available, given the one document

 produced in discovery and the inconsistent testimony among staff about whether such materials

 are available. Additionally, the provision of written materials in cell is not a substitute for actual

 mental health care. Most of the men housed on extended lockdown have very limited education. 140

 Providing these individuals with the ability to request written materials in-cell is not addressing

 mental health needs or mitigating any risk of harm to those individuals, even if the materials exist-

 - which Plaintiffs contest.

          Because there is no programming or therapy available, medication is the only course of

 treatment offered at David Wade.




 135
     Exh. 38, Excerpt of Deposition of Quentin Moran 32; Exh. 46, Excerpt of Deposition of John Booth 54 11--13.
 136
     Exh. 19, Excerpt of Deposition of Willie Dillon at 46.
 137
     Exh. 6, Deposition of Hayden 129:20-22; 13017-20 (provided sex offender materials to one person); Exh. 8,
 Deposition of Robinson 211:1 - 212:5 (only provided written materials to people in TTP as assignments).
 138
     Exh. 10, Deposition of Burgos 143:14-25
 139
     Exh. 10, Deposition of Burgos 146:11-15.
 140
     Exh. 19, Excerpt of Deposition of Willie Dillon at 7 (6th grade education); Exh 5, Excerpt of Deposition of Shawn
 Francis at 7 (8th grade); Exh. 41, Excerpt of Deposition of Theron Nelson 7 (3rd grade); Exh. 25, Excerpt of Deposition
 of James White 7:2-3 (9th grade); Exh. 43, Excerpt of Deposition of Noel Dean 7 (6th grade); Exh. 47, Excerpt of
 Deposition of Leroy Kelly (12th grade); Exh. 48, Excerpt of Deposition of Jawaan Chevalier 8 (could not remember,
 only knew he was “special education”); Exh. 22, Excerpt of Deposition of Demarcus Thomas 8:12-13 (8th grade);
 Exh 49, Excerpt of Deposition of Jonathan Regan 6:19-7:7 (3rd grade, special education); Exh. 50, Excerpt of
 Deposition of Joshua Isaac 7:23-8:4 (10th grade); Exh. 51, Excerpt of Deposition of Mookie Matthews 7:12-15 (10th
 grade); Exh, 52, Excerpt of Deposition of D’Angilo Rubin 8:7-9 (11th grade); Ex. 53, Excerpt of Deposition of
 Tyronne Wells 10 (3rd grade); Exh. 54, Excerpt of Deposition of Willie Jones 6-7 (8th grade); Exh. 55, Excerpt of
 Deposition of Carlton Turner 8:6-9 (8th grade).


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                  3.     Defendants’ medication policies are extremely dangerous, creating a
                  substantial risk of serious harm.

                           a)     Medication not continued upon arrival at DWCC creating a
                           substantial risk of serious harm.

         Defendants assert that “medications come with the offender” when an individual is

 transferred to DWCC.141 Plaintiffs have consistently contested this fact because medications are

 often interrupted when individuals are transferred to DWCC. Shawn Francis testified that he was

 taking Seroquel prior to his transfer to DWCC, but that medication did not come with him. He

 stated he was told by Dr. Seal that Seroquel is not administered at DWCC. 142 Theron Nelson

 reported the same. 143 James White testified that he was taken off his medication upon arrival at

 DWCC, he was told by Dr. Seal that it wasn’t provided at DWCC. 144 White became so depressed

 that he dove off of his prison bunk head first into the concrete floor in a suicide attempt. 145 Jacoby

 Batiste testified that DWCC does not provide the medication he is supposed to be taking. 146

 Demarcus Thomas was taken off his Remeron when he arrived at DWCC from EHCC; he was

 unaware that DWCC even had a psychiatrist on staff. 147 Travis McKee testified that when he

 arrived at DWCC from EHCC and was taken off his meds “cold turkey” he had a nervous

 breakdown as a result.148 Brennan Bellard testified that at all the other prisons he has been at, there

 has been no issue receiving medications but at DWCC his medications were stopped. 149 Cody

 Doucet testified that he did not receive his medications for approximately two or three months at



 141
     Rec. Doc. 414-1 p.2 point 6.
 142
     Exh. 5, Excerpt of Deposition of Francis 31 (and reporting that without his medication, he hallucinates, gets mad
 and frustrated.)
 143
     Exh. 41, Excerpt of Deposition of Nelson 36.
 144
     Exh. 25, Excerpt of Deposition of White 18, 20
 145
     Exh. 25, Excerpt of Deposition of White 18-20.
 146
     Exh. 56, Excerpt of Deposition of Jacoby Batiste 19.
 147
     Exh. 22, Excerpt of Deposition of Thomas 30-31.
 148
     Exh. 57, Excerpt of Deposition of Travis McKee 18.
 149
     Exh. 20, Excerpt of Deposition of Bellard 15:16-25.


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 DWCC.150 Jonathan Regan testified that he was not provided with his medication upon intake at

 David Wade, which resulted in his becoming delusional, slamming his head into the bars, and

 being sent to suicide watch for 5 days.151 This testimony is only some of the proof that shows a

 dangerous discontinuation of medication upon arrival at DWCC, and certainly creates a question

 of material fact regarding the risk of harm at David Wade such that summary judgment is

 inappropriate.

                           b)       Defendants’ medication administration policies create a substantial
                           risk of serious harm.

         Defendants present as an uncontested fact that “appropriate medications are prescribed and

 delivered to the offender.”152 In actuality, the medication administration at DWCC represents some

 of the worst treatment and record-keeping within the correctional system. The conditions created

 by DWCC’s medication practices are incredibly dangerous to the men housed at David Wade.

 “The control, prescription, dispensation, and administration of medications are important aspects

 of any medical care delivery system.” Ruiz, 503 F. Supp. at 1324. “[P]rescription and

 administration of behavior-altering medications in dangerous amounts, by dangerous methods, or

 without appropriate supervision and periodic evaluation, is an unacceptable method of treatment.”

 Id. at 1339. Medication dispensation and recordkeeping at DWCC fall below the constitutional

 minimum standard of care. Medication administration records are so incomplete that it is

 impossible to reconstruct even the basic facts of whether medication pass occurred on extended

 lockdown on many days. Medication administration Officers responsible for medication

 administration were unable to remember basic aspects of their training, are not supervised by




 150
     Exh. 23, Excerpt of Deposition of Doucet 37:9-13.
 151
     Exh. 49, Excerpt of Deposition of Regan 13:21-14.
 152
     Rec. Doc. 414-1 p.3 point 9.


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 anyone, and there is no mechanism which verifies whether the medication administration records

 are complete or accurate.

         Medication is the only mental health treatment provided at David Wade. 153 “There is

 essentially no mental health treatment provided except psychotropic medication which is not

 consistently, or property administered, rendering it ineffective.” 154 The way that medication is

 delivered in a prison can be a matter of life or death. 155 At David Wade, medication is administered

 by security staff.156 Staff make rounds three times per day to deliver medication. 157 Staff testified

 that they understand the importance of record keeping and why it is so important for safety and

 treatment.158

         The security staff involved in medication dispensation is responsible for recording that the

 person actually takes their pills 159 and reporting medication non-compliance to mental health

 staff.160 Medication dispensation is required to be recorded in the eMAR system: the electronic

 database that records pill distribution. 161 When staff make rounds to deliver medication, they mark

 each delivery as taken, by indicating it with a checkmark which appears as their initials in the

 eMAR, an “R” if the individual actively refused the medication, or an “N” if the individual “did




 153
     Exh. 18, Burns Report at p. 3; Exh. 38, Excerpt of Deposition of Moran 31.
 154
     Exh. 18, Report of Dr. Burns at p. 3
 155
     Exh. 58, Deposition of Paul Pitts 37:13-21; Exh. 59, Pill Pass Training, DWCC 033871 (Risks include seizures,
 fights, coma, rapes, and death); Exh. 18, Burns Report at p. 25.
 156
     Exh. 1, Deposition of Nail 120:14 - 121:1
 157
     Exh. 60, Deposition of Michelle Norris 12:4-6.
 158
     Exh. 6, Deposition of Hayden 210:22-25; 211:10-13; Exh. 7, Deposition of Dauzat 86:22 - 87:4; Exh. 8, Deposition
 of Robinson 181:7-9; Exh. 9, Deposition of Seal 142:10-11; Exh. 10, Deposition of Burgos 114:9-22; Exh. 58,
 Deposition of Pitts 37:13-21; Exh. 59, Pill Pass Training, DWCC 033871 (Risks include seizures, fights, coma, rapes,
 and death); Exh. 18 Burns Report at p. 25.
 159
     Exh. 1, Deposition of Nail 121:5-8; Exh. 59, Pill Pass Training, DWCC 033872
 160
     Exh. 58, Deposition of Pitts 55:24 - 56:3
 161
     Exh. 60, Deposition of Norris, 18:1-11


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 not request” the medication. 162 Staff testified that they accurately mark every medication

 administration -- they testified that their “pill pass” records are completely accurate. 163

          The medication administration practices are inconsistent depending on the staff member

 conducting the pill pass. There are functionally two staff responsible for pill distribution for people

 on extended lockdown at David Wade: Sgt. Scriber and Sgt. Pitts.164 Due to the lack of training

 and supervision, Sgt. Scriber could not remember any training on whether to mark a missed dose

 as “N” or “R.”165 He could not remember his training on the eMAR system166 or the importance

 of record-keeping.167 Only one security staff member claimed to create any contemporaneous

 record of medication administration, which he would note on a sheet of paper and then transfer

 into the computer system later on in his shift. 168 It was not Sgt. Scriber’s practice to make a

 contemporaneous written record of who missed doses of their medications. 169 Sgt. Scriber would

 generally rely only on his memory, rather than any written records, to make the record of his pill

 pass.170 Despite this, Sgt. Scriber never received a negative evaluation on his pill pass work.171

          The training provided to “pill pass” officers specifically states that mental health staff are

 to be informed if a patient misses three doses. 172 The officers do not report the vast majority of

 missed doses to mental health staff because they testified that the system does not require them to

 make a report to mental health if they mark the medication as “not requested” (“N”) rather than




 162
     Exh. 58, Deposition of Pitts 49:11 - 54:22
 163
     Exh. 61, Deposition of Erik Scriber 71:2-9.
 164
     Exh. 1, Deposition of Nail 120:25 - 121:1
 165
     Exh. 61, Deposition of Scriber 54:12-16.
 166
     Exh. 61, Deposition of Scriber 17:18-24
 167
     Exh. 61, Deposition of Scriber 17:24 - 18:2
 168
     Exh. 58, Deposition of Pitts 49:20 - 50:17;
 169
     Exh. 61, Deposition of Scriber 23:1-8,
 170
     Exh. 61, Deposition of Scriber 12:1-8.
 171
     Exh. 61, Deposition of Scriber 11:13-16
 172
     Exh. 59, Pill Pass Training, DWCC 033852


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 “refused” (“R”).173 Similarly, the pill pass officers do not properly observe whether patients

 actually take medications after they are distributed, as shown by frequent use of prescription

 medication overdose as a means of self-harm.174

         Sgt. Scriber could not recall any time any supervisor or nursing staff observed him during

 pill pass to ensure he was performing it correctly.175 By contrast, Sgt. Pitts testified that his pill

 pass activities were supervised directly by nurses.176 Nursing staff at DWCC testified that they do

 not review medication administration records to ensure accurate record-keeping.177 When nursing

 staff do review MAR records, it is simply to confirm that the records exist, not their accuracy. 178

 The colonel in charge of the security staff for extended lockdown testified that he did not even

 know if the staff were required to make records of the pill pass and stated that all supervisory

 responsibility was with the nursing department. 179 Mental health staff do not review the medication

 administration forms to evaluate whether someone has been taking medication. 180 Dr. Seal testified

 he does not review the eMARs to check on whether the medication he is prescribing reaches the

 patient,181 despite the fact that he renews their prescriptions every 90 days. The staff produced for

 a 30(b)(6) deposition regarding the medication administration practices at DWCC testified that

 nobody is responsible for reviewing the MAR for accuracy. 182 Thus, there is no individual at David

 Wade whose responsibility it is to ensure that people are actually receiving or taking their



 173
     Exh. 61, Deposition of Scriber 54:5-16; Exh. 58, Deposition of Pitts 55:34 - 56:6
 174
     Exh. 62, in globo: Nov. 14, 2018 Mental Health Progress Note DWCC 100827-28; Jan. 1, 2018 Use of Force
 Review DWCC 004201-18; March 5, 2017 Use of Force Review DWCC 003025-29; Feb. 19, 2017 Use of Force
 DWCC 02897-907; Sept. 12, 2016 Use of Force Review DWCC 006546-64; Exh. 63, Excerpt of Deposition of Brian
 Covington 41:22-25.
 175
     Exh. 61, Deposition of Scriber 15:10-19
 176
     Exh. 58, Deposition of Pitts 12:12:5-11; 28:19 - 29:10
 177
     Exh. 64, Deposition of Joel Williams, RN 36:4-8;
 178
     Exh. 60, Deposition of Norris, 47:25 - 48:6.
 179
     Exh. 1, Deposition of Nail 121:4-18.
 180
     Exh. 6, Deposition of Hayden 103:11 - 104:12
 181
     Exh. 9, Deposition of Seal 58:21-25.
 182
     Exh. 60, Deposition of Norris 49:9-17


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 medication. Not only do these inconsistencies demonstrate the lack of training and supervision,

 but they also create an obvious danger to the people who depend on medications to treat severe

 mental health conditions.

        The eMAR records actually kept by Defendants indicate that people fail to receive

 medications for months at a time, show a pattern of missed doses marked “N” across the entire

 extended lockdown population, show records being edited, and mark people who are not even

 present at the institution as having received medications. Contrary to Defendants’ characterization,

 the eMAR records have more than simple “imperfections” but rather dangerous and systematic

 problems with basic elements of record keeping. For example, in April of 2017, records show

 people receiving only a single dose of medication across the entire month. 183 The fact that so many

 people received no medication, and that each was not actively refusing but only “failing to request”

 the medication indicates that these records are dangerously unreliable. While April of 2017 stands

 as a particularly egregious and obvious example of poor record-keeping and the lack of oversight,

 the pattern of logging all people as “N” for days and weeks at a time is a common occurrence at

 DWCC.

        The pattern of all patients on extended lockdown being marked as “N” not requesting their

 medications persists in an extreme form. Since the time this litigation was filed, there has been a

 consistent pattern of multiple people across all the extended lockdown buildings all missing their

 doses on the same pill passes in the eMAR records.

        February 2018: medications only delivered on six of the 28 days of the month. 184

        March 2018: medications only delivered on 18 of the 31 days of the month. 185


 183
     Exh. 65, in globo, Medication Administration Records, DWCC 082285; DWCC 156906; DWCC 148509; DWCC
 199430; DWCC 218423, DWCC 201746, DWCC 197159
 184
     Exh. 66, MARs in globo DWCC 1989, 2006, 107921, 1082, 2094, 2261, 95089, 93783, 82268-82269, 97925
 185
     Exh. 67, MARs in globo DWCC 107919, 114204, 2262-2263, 2084-2085


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        April 2018: medications only delivered on 14 of the 30 days of the month. 186

        May 2018: medications only delivered on 20 of the 31 days of the month. 187

        June 2018: medications only delivered on 18 of the 30 days of the month.188

        July 2018: medications only delivered on 23 of the 31 days of the month. 189

        August 2018: medications only delivered on 19 of the 31 days of the month. 190

        September 2018: medications only delivered on 21 of the 30 days of the month.191

        October 2018: medications only delivered on 22 of the 31 days of the month. 192

        November 2018: medications only delivered on 23 of the 30 days of the month. 193

        December 2018: medications only delivered on 20 of the 31 days of the month. 194

        January 2019: medications only delivered on 22 of the 31 days of the month. 195

        February 2019: medications only delivered on 18 of the 28 days of the month. 196

        March 2019: medications only delivered on 22 of the 31 days of the month. 197

        April 2019: medications only delivered on 21 of the 30 days of the month. 198

        May 2019: medications only delivered on 16 of the 31 days of the month. 199

        June 2019: medications only delivered on 24 of the 30 days of the month. 200




 186
     Exh. 68, MARs in globo DWCC 2086-2087, 2008, 2049, 107908, 1991, 2264, 2096
 187
     Exh 69, MARs in globo DWCC 107918, 114320-114322, 2266-2267, 2088-2089, 114202.
 188
     Exh. 70, MARs in globo DWCC 114317-114319, 114116-114117, 107916, 95583, 114246-114247, 114350,
 114201
 189
     Exh. 71, MARs in globo DWCC 114314-114316, 107915, 97928, 114114-114115, 14244-114245, 114349
 190
     Exh. 72, MARs in globo DWCC 114200, 114242-114243, 107913-107914, 82258-82259, 114348, 114112-114113
 191
     Exh. 73, MARs in globo DWCC 114240-114241, 107910, 97194, 114119, 114347, 114110-114111
 192
     Exh. 74, MARs in globo DWCC 114108-114109, 95081, 114238-114239, 114148, 114346.
 193
     Exh. 75, MARs in globo DWCC 114147, 107905, 114345, 114236-114237, 114107.
 194
     Exh. 76, MARs in globo DWCC 114104-114106, 130949-130950, 114234-114235, 114146, 114344
 195
     Exh. 77, MARs in globo DWCC 114102-114103, 114225, 114343, 114198
 196
     Exh. 78, MARs in globo DWCC 114101, 130945-130946, 114144, 114197, 114342
 197
     Exh. 79, MARs in globo DWCC 114224, 114196, 130926, 114341, 114099, 114143
 198
     Exh. 80, MARs in globo DWCC 114142, 114097-114098, 114122-114223, 114340, 114195
 199
     Exh. 81, MARs in globo DWCC 114095-114096, 114194, 114339, 114141, 114220-114221
 200
     Exh. 82, MARs in globo DWCC 114094, 114260-114262, 114338, 114219, 114140.


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         This pattern, in which each person appears to miss their medications all on the same day,

 is a direct consequence of DWCC’s failure to train, supervise, and monitor staff. Identifying this

 problem takes no great leap of forensic analysis. If any individual were exercising any level of

 oversight over the medication administration at David Wade blaring alarms should have gone off.

 The facility has been regularly ordering hundreds of pills from the Department of Corrections with

 absolutely no indication that the pills made it to the prisoners for whom they were intended. 201 The

 failure to recognize and ameliorate this obvious problem for years demonstrates the complete lack

 of oversight of medication administration at DWCC.

         These medication records are also inconsistent with the pharmacy ordering records for

 individual patients. According to Carlton Turner’s eMAR records, he received only six doses of

 Cogentin, five doses of Ripserdol, and one dose of Paxil between February and May in 2017.202

 However, the records of pharmacy orders during that same time period reflect DWCC staff

 reordering the Cogentin three times for a total of 180 doses,203 three orders of Paxil for a total of

 114 doses,204 and three orders of Risperdol for a total of 192 doses, ostensibly for Mr. Turner.205

 This pattern repeats for Bruce Charles, his eMAR records show him receiving only one dose of

 Depakote between February and May of 2017, 206 but the medication was reordered twice during

 that time for a total of 90 doses.207 Tyler Blanchard received seven doses of Wellbutrin between

 February and May of 2017, 208 but the medication was reordered three times for a total of 180




 201
     Exh. 60, Deposition of Norris 25:16-24
 202
     Exh. 83, MAR Turner DWCC 002244-48
 203
     Exh. 83, MAR Turner DWCC 002310
 204
     Exh. 83, MAR Turner DWCC 002313
 205
     Exh. 83, MAR Turner DWCC 002313-14
 206
     Exh. 84, MAR Charles DWCC 001994-97
 207
     Exh. 84 MAR Charles DWCC 002278
 208
     Exh. 85, MAR Blanchard DWCC 2035-38


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 doses.209 Nurses are only supposed to reorder medication when the cart runs out. 210 The

 discrepancy between the eMAR records and the institution’s medication orders raises only

 dangerous and disturbing possibilities, among them that medication actually provided to people

 on extended lockdown is not being recorded in the system or that powerful psychotropic

 medications are being diverted from the intended recipients in dangerously high volumes.

          On March 20, 2017, Plaintiffs requested medication administration records for Bruce

 Charles under the Advocacy Center’s P&A Access Authority. 211 Defendants provided medication

 administration records for Mr. Charles, including for the time period of February through March

 of 2017.212 Those records, produced prior to the start of the lawsuit, do not match the records later

 produced by Defendants during discovery; the records produced following the filing of the lawsuit

 indicate Mr. Charles received not even a single dose of Depakote during that two month time

 period, however, the records provided before the filing of the lawsuit show Mr. Charles receiving

 16 doses of Depakote in February 2017213 and 7 doses in March 2017.214 Tyler Blanchard follows

 a similar pattern: prior to the filing of the lawsuit, he received 17 doses of Wellbutrin in February

 2017215 and 15 doses in March 2018216 but when those same documents were produced after the

 start of discovery they reflected that he received no doses in either month. 217 The modification of

 these records following the filing of the lawsuit calls into question the validity of any record kept

 by Defendants.




 209
     Exh. 85, MAR Blanchard DWCC 002383
 210
     Exh. 60, Deposition of Norris 26:19 - 27:10; 75:4-13
 211
     Exh. 86, MAR Charles PLA016650
 212
     Exh. 86, MAR Charles PLA012965-68
 213
     Exh. 86, MAR Charles PLA012965
 214
     Exh. 86, MAR Charles PLA012966
 215
     Exh. 87, MAR Blanchard PLA012838
 216
     Exh. 87, MAR Blanchard PLA012839
 217
     Exh. 87, MAR Blanchard DWCC 002035-36


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         There are also records of medication administration being affirmatively recorded when the

 patient was not even at DWCC. Carlton Turner attempted suicide by jumping from the fence of

 the recreation cage on September 18, 2017, and was immediately taken to the hospital for

 surgery.218 Mr. Turner was admitted to University Health Shreveport on September 18 and

 discharged on October 5, 2017. 219 However, Mr. Turner’s eMARs show that he continued to

 receive medication from Sgts. Scriber and Warren while he was hospitalized and no longer

 physically present at DWCC. 220 This again raises the possibility that powerful psychotropic

 medications are being diverted from the intended patients by staff at DWCC, and certainly

 confirms that eMAR records are totally inaccurate.

         These practices are obviously extremely dangerous, as they allow people to go

 unmedicated or improperly medicated without intervention. Patients can refuse doses, or be denied

 doses, or sleep through pill distribution, or collect their pills and attempt an overdose; there is

 simply no way of knowing based upon these records.

         The obvious risks of these inadequate medication administration policies manifest as

 actual, life-threatening harm to individual class members. Matthew Carroll attempted to take his

 life using prescription medications.221 Bruce Charles became suicidal and was placed on suicide

 watch on March 4, 2017,222 and received a write-up for masturbating223 during a period for which

 his mental health medication compliance is impossible to reconstruct. Joshua Musser was placed

 on extreme suicide watch with his hands and feet shackled when he returned from the hospital




 218
     Exh. 88, MAR Turner DWCC 017440
 219
     Exh. 88, Turner PLA 016971
 220
     Exh. 88, MAR Turner DWCC 002253-2254
 221
     Exh. 89, suicide attempts in globo, Jan. 16, 2018 Use of Force DWCC004201-18
 222
     Exh. 89, suicide attempts in globo, Mar. 4, 2017 Mental Health Progress Note DWCC 000800-01.
 223
     Exh. 89, suicide attempts in globo, Mar. 24, 2018 Disciplinary Report DWCC 000745


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 after he took a handful of pills.224 On June 6, 2017, Musser would again attempt suicide by taking

 blood pressure medication and banging his head on the cell walls. 225

         In short, the one course of treatment actually “offered” at David Wade-- medication-- is

 not in fact provided. And worse, this information never reaches the licensed mental health

 provider-- Dr. Seal.      His entire course of treatment of patients is premised on medication

 administration.226 He only sees patients for roughly 5 minutes at a time every 90 days, which is

 not enough time for meaningful therapy or to deeply evaluate someone. 227 He has to rely on

 medication as the main form of treatment. 228 Because that is not being delivered at DWCC, there

 is effectively no mental health treatment at the prison whatsoever.

                  4.      David Wade does not respond to decompensation or mental health crisis,
                  resulting in actual harm and creating a substantial risk of serious harm.

         Staff at David Wade do not respond appropriately to even the most severe demonstrations

 of psychological decompensation or crisis, and this failure creates a substantial risk of serious harm

 for the men housed at Wade. Warden Dauzat testified that individual treatment plans are not

 updated following a sick call or any other decision that could change the treatment options for an

 individual, including crisis intervention.229 Dr. Seal testified that not only does he not review an

 individual’s treatment plan when they go onto suicide watch, he does not make any changes to it

 as a result of being on suicide watch. 230

         Treatment plans for individuals housed on the South Compound are updated annually,

 regardless of what happens to an individual throughout the course of the year. 231 And as previously


 224
     Exh. 89, suicide attempts in globo, Mar. 5, 2017 Use of Force DWCC 003025-29
 225
     Exh. 89, suicide attempts in globo, June 6, 2017 Use of Force DWCC 003308-15
 226
     Exh. 9, Deposition of Seal 19:13-24.
 227
     See Supra III.A.2.(b).
 228
     Exh. 9, Deposition of Seal 47:6-8; 48:5-8; 51:7-9; 52:8-11.
 229
     Exh. 7, Deposition of Dauzat 132:14-23.
 230
     Exh. 9, Deposition of Seal 95:21 - 96:1.
 231
     See Exh. 6, Deposition of Hayden 229:2-3.


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 noted, they are “updated” to include the exact same treatment plan that the individual had

 previously, because there is nothing individualized about them. 232 Therefore, the treatment plans

 (which should be the guiding document coordinating care between all staff) fails to reflect or adapt

 when an individual experiences a mental health crisis or has a suicide attempt that may result in

 the necessity for additional or different mental health treatment. But not only do treatment plans

 not change-- nothing about an individual’s treatment changes in response to crisis.

         Cody Doucet, who has a diagnosis of bipolar schizophrenia,233 repeatedly “was made” to

 eat his feces and smeared feces over his body. 234 Mr. Doucet reports that he did not receive his

 medication for months 235 and his medical records substantiate that despite his very serious

 diagnosis and his bizarre and dangerous behavior, he did not receive medication for four months. 236

 Mr. Doucet reports that he had multiple suicide attempts as a result.237 David Wade did not change

 Mr. Doucet’s treatment plan. 238 It did not change his medications. 239 Staff progress reports during

 this period reflect multiple suicide watches, both extreme and standard, in addition to numerous

 reports of self-harm.240 Rodney Long with the Classification Department testified that Mr. Doucet

 was in preventative segregation because he was a danger to himself and indicated his mishandling

 of feces as a reason. 241 And although he was known by staff to be eating his own feces, Mr. Doucet

 was not moved to a more therapeutic environment than the disciplinary unit at David Wade.




 232
     See Supra III.A.2.(c).
 233
     Exh, 23, Excerpt of Deposition of Doucet 34:1-25.
 234
     Exh. 23, Excerpt of Deposition of Doucet 14:29-23; 24:20-25.
 235
     Exh, 23, Excerpt of Deposition of Doucet 37:9-13.
 236
     Exh. 90, Doucet MARs for 03/19 and 07/19 (there were no MAR for April, May or June in records).
 237
     Exh. 23, Excerpt of Deposition of Doucet 39:14-120; 41:1-7.
 238
     Exh. 90, Treatment plans dated 11/1/2018 DWCC 150623 and 3/7/2019 DWCC 150578.
 239
     See Exh. 90 Doucet MARs.
 240
     Exh. 90, In globo records of SSW & ESW.
 241
     Exh. 3, Deposition of Long 139:1-24.


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         D’Angelo Rubin arrived at David Wade in February 2019, having completed the diagnostic

 screening test at Hunt, and Hunt having ascertained that David Wade was the proper placement

 for him.242 During the intake screen in December 2018, EHCC indicated that Mr. Rubin was

 diagnosed with schizophrenia and bipolar since he was 8 years old and indicated his medications

 were Seroquel and Zyprexa. 243 He was provided the same treatment plan as everyone else. 244 He

 was seen by the EHCC mental health staff on January 17, 2019 due to a report that he was only

 given Zyprexa and it is not working so he requested he be provided his Seroquel. 245 The notes

 indicate he reported sleep problems and flashbacks.246 Mr. Rubin was transferred to DWCC and a

 Level of Care review completed around the time of his arrival indicated he was a Level of Care 3

 with a diagnosis of Psychotic (not otherwise specified) (“NOS”),247 despite the intake screen at

 EHCC listing a different diagnosis. There are limited records available from Mr. Rubin’s time at

 DWCC, and the records that were available are incomplete and missing pages that would have

 included notes and impressions that would have provided insight into Mr. Rubin’s interactions

 with staff.248 On June 10, 2019 a segregation follow up interview form was completed which

 indicated that everything was within normal limits and Mr. Rubin reported no mental health

 issues.249 In September 2019, he was transferred back to EHCC although his record does not

 indicate what the reason for transfer was. Through a very tortured deposition transcript, it became

 clear that Mr. Rubin was ultimately at DWCC for nine months. He is so decompensated during his



 242
     Exh. 52, Deposition of Rubin, 10 5-22.
 243
     Exh. 91, 2018-12-17 HRDC Mental Health Intake Screening DWCC 135692.
 244
     Exh. 91, 2019-2-7 - Mental Health Treatment Plan DWCC 135697.
 245
     Exh. 91, 2019-1-17 - Mental Health Individual Progress Notes DWCC 135716-17.
 246
     Id.
 247
     Exh. 91, 2019-2-4 - Mental Health Service Codes and Level of Care Review DWCC 135704.
 248
     Exh. 91, Multiple Progress Notes missing second pages (seen 2/8/19 for medical referral DWCC 135695) (seen
 3/4/19 for PREA Vulnerability Reassessment DWCC 135693) (seen 3/18/19 due to Mr. Rubin being held in
 segregation exceeding 30 days DWCC 135688) (seen 7/25/19 for psychiatric clinic DWCC 135685).
 249
     Exh. 91, 2019-6-10 - Interview of Segregated Inmate DWCC 135686.


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 deposition that it is difficult to follow. At points, he suggested that opposing counsel was speaking

 Japanese.250 Ultimately Mr. Rubin was so unable to participate that defense counsel canceled the

 deposition. It was never rescheduled.

         Vincent Dotson served time at Angola and had no write-ups or confrontations with staff. 251

 However, at David Wade in the harmful conditions of extended lockdown, 252 Dotson began to

 decompensate -- throwing items onto the tier “because the voices was getting to me, or something

 like that.”253 He got writeups and was maced for “racking the bars.” 254 Mr. Dotson had no prior

 mental health diagnosis or medication. 255 On October 7, 2016, Capt. Huey saw Mr. Dotson banging

 his head against the cell bars. 256 Medical staff was summoned and, during treatment Mr. Dotson

 began to vomit glass.257 Shortly after Mr. Dotson ceased vomiting, Capt. Huey heard Mr. Dotson

 make a loud crunching noise as he began again eating glass from a lightbulb. 258 Because Mr.

 Dotson ate the lightbulb on a Friday, he did not see mental health staff until the following

 Monday.259 When Steve Hayden did talk to him, the notes from the encounter made no reference

 to eating the lightbulb, simply stating: “Offender reports conditional stress and conflict with fellow

 offenders. He denies any current S/I, H/I or MH concerns. Discontinue SSW.” 260 After that, there

 was no mental health follow-up about this extreme act of self-harm and obvious manifestation of

 mental illness.261



 250
     Exh. 52, Excerpts of Deposition of Rubin 14, 21-25.
 251
     Exh. 34, Excerpt of Deposition of Dotson 11:16-24.
 252
     Exh. 34, Excerpt of Deposition of Dotson 13:20-24.
 253
     Exh. 34, Excerpt of Deposition of Dotson 12:22-13:5.
 254
     Exh. 34, Excerpt of Deposition of Dotson 14:16-23; 15:1-15.
 255
     Exh. 34, Excerpt of Deposition of Dotson 20:10-25.
 256
     Exh. 92, Oct. 7, 2016 Use of Force Review DWCC 006698, et seq.
 257
     Id.
 258
     Id.
 259
     Exh. 92, Oct. 10, 2016 Individual Progress Note DWCC134509-10.
 260
     Id. (Translated: He denies any current S/I (suicidal ideation), H/I (homicidal ideation) or MH (mental health)
 concerns. Discontinue SSW (standard suicide watch)).
 261
     Exh. 34, Excerpt of Deposition of Dotson 23:9-25.


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          Noel Dean arrived at DWCC from Louisiana State Penitentiary (LSP) on November 28,

 2017 and was identified as Level of Care 262 3F, denoting frequent mental health problems. 263 His

 DWCC intake file contains a mental health intake screening noting Level of Care 3 and SMI, 264

 the same treatment plan as every other person on extended lockdown265 and a level of care review

 form.266 He received no mental health contact other than suicide watch rounds from November,

 2017 until he was placed on extreme suicide watch in full restraints on January 10, 2018 for cutting

 his wrists with a razor blade. 267 On January 23, 2018, Noel Dean was placed on extreme suicide

 watch again.268 That evening, while in his cell in full restraints, he was written up for threatening

 to bite his tongue to spit blood.269 That same night, he was also sprayed with mace and written up

 for making too much noise.270

          On April 1, 2018, Mr. Dean cut his wrist and was again placed on extreme suicide watch

 in full restraints.271 The next day, Mr. Dean again cut his wrist and stated that he was suicidal. 272

 While Mr. Dean was still on extreme suicide watch in full restraints, he attempted to commit

 suicide by hanging himself by the neck with those restraints. 273 The next day, Mr. Dean remained

 in the same restraints which he had used to attempt suicide with no additional supervision or mental

 health treatment.274 He remained on extreme suicide watch in restraints for days. 275 On April 4,



 262
     Level of Care is a system of categorizing the degree of acuity of mental illness, Level 1 reflects the most extreme
 needs, Level 5 reflects a determination that the individual has no mental illness.
 263
     Exh. 30, Nov. 28, 2017 Initial Classification – DWCC 023633 – Noel Dean.
 264
     Exh. 30, Nov. 28, 2018 Intake Screening – DWCC 090570 – Noel Dean.
 265
     Exh. 30, Nov. 30, 2017 Mental Health Treatment Plan – DWCC 090562.
 266
     Exh. 30, Level of Care Review – DWCC 085315.
 267
     Exh. 30, Jan. 10, 2018 Unusual Occurrence Report – DWCC 004190-91.
 268
     Exh. 30, Jan 23, 2018 Mental Health Management Order – DWCC 023612.
 269
     Exh. 30, Jan. 23, 2018 Disciplinary Report – DWCC 023580.
 270
     Exh. 30, Jan. 23, 2018 Disciplinary Report – DWCC 023584.
 271
     Exh. 30, April 1, 2018 Unusual Occurrence Report – DWCC 023536.
 272
     Exh. 30, April 2, 2018 Unusual Occurrence Report – DWCC 023535.
 273
     Exh. 30, April 2, 2018 Unusual Occurrence Report – DWCC 023523.
 274
     Exh. 30, April 3, 2018 Mental Health Management Order – DWCC 023518.
 275
     Exh. 30, April 4, 2018 Mental Health Management Order – DWCC 023506.


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 2018, he was placed in the restraint chair for 12 hours after attempting to wrap his cuffs around

 the food tray to hang himself.276 Mr. Dean was taken off of extreme suicide watch on April 5,

 2018.277

         On May 17, 2018, the classification review board voted to keep Mr. Dean in extended

 lockdown due to the “serious nature of past offenses” and “disciplinary reports received during

 current confinement” with no discussion of his repeated suicide watches, attempts to harm himself,

 or steps necessary to keep him in a maximum-security setting safely. 278 Mr. Dean’s obvious and

 totally unaddressed mental health needs resulted in his continued deterioration. On July 4, 2018,

 he was placed on strip cell and food loaf following incidents where he is alleged to have thrown

 feces.279 On July 5, 2018, he was again placed on extreme suicide watch in restraints. 280 Mr. Dean

 was taken off of Policy 34 strip cell status on August 12, 2018. 281 He was put back on strip cell

 status for throwing his feces on August 27, 2018282 and taken off again September 25, 2018. 283

 This pattern would repeat itself again on October 13, 2018.284 At no point did mental health or

 security staff document any concern that the pattern of throwing his feces may reflect an unmet

 mental health need.

         Despite the concerning behavior exhibited by Mr. Dean, on December 13, 2018, Defendant

 Hayden wrote of Mr. Dean that everything was “within normal limits” and that “No psychiatric




 276
     Exh. 30, April 4, 2018 Mental Health Management Order – DWCC 023507.
 277
     Exh. 30, April 5, 2018 Unusual Occurrence Report – DWCC 023501.
 278
     Exh. 30, May 17, 2018 Classification Review Board – DWCC 023497.
 279
     Exh. 30, July 4, 2018 Unusual Occurrence Report – DWCC 023464.
 280
     Exh. 30, July 5, 2018 Unusual Occurrence Report –DWCC 023472.
 281
     Exh. 30, August 12, 2018 Decision Form – DWCC 023440.
 282
     Exh. 30, August 27, 2018 Decision Form – DWCC 023436.
 283
     Exh. 30, Sept. 25 2018 Decision Form – DWCC 023427.
 284
     Exh. 30, Oct. 13, 2018 Decision Form – DWCC 023415.


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 distress was noted.”285 Mr. Dean again engaged in self harm on Dec. 25, 2018. 286 On Dec. 28,

 2018, he was placed on extreme suicide watch again. 287

         Torre Huber died at DWCC. When he was first processed into the Department’s custody,

 he was diagnosed with major depressive disorder and borderline personality disorder and

 prescribed Zyprexa and Celexa. 288 At Elayn Hunt Correctional Center (EHCC) intake on February

 26, 2015 he reported auditory hallucinations and a history of self-harm, including an attempted

 suicide by gunshot.289 He arrived at DWCC on March 30, 2015, and received a mental health

 intake screening from Defendant Hayden who identified only major depressive disorder and listed

 his medication as Remeron. 290 During his initial visit with Dr. Seal, Mr. Huber reported auditory

 hallucinations and received a diagnosis of schizoaffective disorder, but Dr. Seal failed to diagnose

 him with major depressive disorder. 291 After only approximately five months on extended

 lockdown, his condition deteriorated to the point where he experienced auditory and visual

 hallucinations of conversations with his deceased relatives. 292 His treatment plan remained the

 same as everyone else’s and reflects no programming, mental health counselling, or any additional

 safety measures.

         A month after the visit where Mr. Huber reported conversations with his deceased relatives,

 he was listed as a no-show for psychiatric clinic, a pattern which would repeat itself as his condition

 worsened.293 Even where Dr. Seal’s notes indicated that Mr. Huber was experiencing



 285
     Exh. 30, Dec. 13, 2018 Interview of Segregated Inmate – DWCC 131006.
 286
     Exh. 30, Dec. 25, 2018 Level of Care Review – DWCC 130997.
 287
     Exh. 30, Dec. 28, 2018 Individual Progress Note – DWCC 130998-99.
 288
     Exh. 31, Feb. 26 2015 Mental Health Progress Note (EHCC) – DWCC 012096.
 289
     Exh. 31, Feb. 16, 2015 Mental Health Intake Screening – DWCC 012098-99.
 290
     Exh. 31, March 30, 2015, Mental Health Intake Screening – DWCC 012078.
 291
     Exh. 31, April 1, 2015 Mental Health Progress Note – DWCC 012076.
 292
     Exh. 31, Sept. 3, 2015 Offender Progress Note – PLA 015369
 293
     Exh. 31, Oct. 15, 2015 Mental Health Progress Note – DWCC 012053; Exh. 31, Jan 21, 2016 Mental Health
 Progress Note – DWCC 012049; Exh. 30, June 23, 2016 Mental Health Progress Note – DWCC 012035.


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 hallucinations, Defendant Hayden’s notes from the same clinical encounters fail to reflect this fact;

 instead Defendant Hayden recommended that Mr. Huber’s next visit occur in 4-6 months.294 His

 treatment plan remained the same even as his symptoms escalated. 295 By September 2016, Mr.

 Huber’s condition deteriorated to the point where he was severely disoriented and no longer

 responded to commands or answered questions.296 Around this time, Dr. Seal indicated a suspected

 diagnosis of early onset dementia. 297 Mr. Huber’s condition continued to deteriorate, with Ariel

 Robinson describing him as catatonic and “help-seeking.”298 The day after Ms. Robinson’s visit,

 he was taken off mental health observation with no follow-up treatment steps, safety measures, or

 memory aids.299 Mr. Huber did not see Dr. Seal again until February of 2017. 300 Around this time,

 after nearly two years on extended lockdown (for reasons that are completely unclear) Mr. Huber

 was returned to general population. Later that same year, Mr. Huber, a known dementia patient,

 returned to extended lockdown for a work offense. 301

         On July 3, 2018, Mr. Huber was taken from extended lockdown in N2 to the hospital non-

 responsive with a temperature of 105.1. 302 While at the hospital, DWCC was contacted for patient

 history which DWCC staff described as follows: “that patient does become confused at times and

 will be oriented one day and confused the next and this seems to be his baseline status.” 303 Staff at

 the hospital suspected he was reacting to his medication, possibly combined with the heat. He was

 returned to the prison with no provision for assistance with any activities of daily living, no special


 294
     Exh. 31, Feb. 4, 2016 Mental Health Progress Note – DWCC 012047; Exh. 31, Feb 4, 2016 Psychiatric Clinic
 Assessment – DWCC 012043.
 295
     Exh. 31, Feb. 4, 2016 Mental Health Treatment Plan – PLA015356.
 296
     Exh. 31, Sept. 15, 2016 Mental Health Progress Note – DWCC 012029-30.
 297
     Exh. 31, Sept. 22, 2016 Mental Health Progress Note – DWCC 012018-20.
 298
     Exh. 31, Sept. 26, 2016 Mental Health Progress Note – DWCC 012016-17.
 299
     Exh. 31, Sept. 27, 2016 Mental Health Progress Note – DWCC 012015.
 300
     Exh. 31, Feb. 2, 2017 Mental Health Progress Note – DWCC 012008.
 301
     Exh. 31, Oct. 10, 2017 Disciplinary Report – PLA 014956.
 302
     Exh. 31, July 3, 2018 Health Care Request Form – PLA 015243.
 303
     Exh. 31, July 3, 2018 Physician Discharge Summary – PLA 015030.


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 supervision as a result of his memory issues, and no additional precautions for his safety. Shortly

 thereafter, he stopped eating and drinking. 304 By that time, he no longer spoke much and what

 speech he had was largely incomprehensible. 305 He had only hot water to drink between meals 306

 despite temperatures being in the 90s307 and despite his being on psychotropics and despite the

 hospital having indicated that he still had an altered mental state on discharge. 308 On July 22, 2018,

 Torre Huber was found dead in his cell by his cellmate in the early morning. 309

         GB was transferred to DWCC after intake at EHCC around November 2, 2015310 and

 received a mental health intake screen at DWCC on November 10, 2015. 311 His intake stated he

 was Level of Care 4 with a diagnosis of ADHD 312 which was inexplicably changed to a Level of

 Care 5h on June 29, 2016.313 Over the course of the next year and a half, GB’s behavior became

 increasingly bizarre and he was placed on multiple suicide watches as a means to deal with his

 behavior.314 Despite the numerous reports of bizarre behaviors, inability to communicate, and

 refusals to leave his cell, there was no intervention by Dr. Seal or direct mental health staff other

 than cursory progress notes. 315 Vincent Dotson had been on the same tier with GB for

 approximately 9 months 316 and he testified that GB was in a strip cell and food loaf the whole time

 he was there.317 Around June 5, 2017, GB was transferred to EHCC for mental health treatment. 318



 304
     Exh. 32, Excerpt of Deposition of Joshua McDowell 31:1-7.
 305
     Exh. 32, Excerpt of Deposition of Joshua McDowell 31:13-19.
 306
     Exh. 32, Excerpt of Deposition of Joshua McDowell 12:12-16.
 307
     Exh. 32, Excerpt of Deposition of Joshua McDowell 35:25.
 308
     Exh. 31, July 11, 2018 Discharge Summary DWCC – 015286.
 309
     Exh. 31, July 24, 2018 Medical Summary Report – DWCC 103827.
 310
     Exh. 33 2015-11-2 - Mental Health Service Codes and LOC Review.
 311
     Exh. 33 2015-11-10 - Mental Health Intake Screening - Bonner, Gerald.
 312
     Exh. 33 2015-11-2 - Mental Health Service Codes and LOC Review - Bonner, Gerald.
 313
     Exh. 33 2016-6-29 - Mental Health Service Codes and LOC Review - Bonner, Gerald.
 314
     Exh. 33, in globo suicide watch notes and progress notes
 315
     Exh. 33, in globo progress notes, psch call out refusal notes
 316
     Exh. 34, Excerpt of Deposition of Dotson 18:16-21.
 317
     Exh. 34, Excerpt of Deposition of Dotson 17:13-23.
 318
     Exh. 33, 2017-6-5 - Notification of Transfer - Bonner, Gerald.


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 On intake at EHCC, he was diagnosed with schizophrenia and his level of care was changed to a

 level 1 resulting from his inability to communicate or care for himself. 319 GB’s development of

 schizophrenia while at DWCC went unnoticed by the mental health staff who are responsible for

 identifying mental illness. Consequently, GB received no treatment for nearly a year and a half.

         Carlton Tuner was seen by Dr. Seal on April 20, 2017, during which Dr. Seal noted Mr.

 Turner reported doing well. 320 A level of care review completed May 16, 2017 indicated Mr.

 Turner to be a Level of Care 3 with a diagnosis of Major Depressive Disorder. 321 On August 29,

 2017, Mr. Turner was found in his cell with blood on the floor, having cut his wrists while voicing

 suicidal ideation.322 As a result, he was placed on suicide watch in alternative restraints. 323 He was

 seen by Steve Hayden on August 30324 and 31325, 2017, at which time he was discontinued from

 suicide watch. He was seen by Mr. Hayden again on September 4, 2017, who reports Mr. Turner

 was taking all medications as prescribed and working as intended with no current mental health

 concerns.326 However, just 2 weeks later on September 18, 2017, Mr. Turner climbed to the top of

 the 12-foot exercise pen and jumped off, in a reported suicide attempt. 327 As a result, he fractured

 both legs and required multiple surgeries to save his legs. From April 20, 2017, Mr. Turner was

 not seen by Dr. Seal again until November 9, 2017.328 In 4 months, Mr. Turner had 2 suicide

 attempts and was not seen once by the only psychiatrist at DWCC, nor is there an indication in the

 records that a referral was made by Mr. Hayden.



 319
     Exh. 33, 2017-6-6 - Psychiatric Progress Notes, Hunt - Bonner, Gerald.
 320
     Exh. 93, in globo 2017-4-20 - Progress Note - Turner, Carlton.
 321
     Exh. 93, in globo 2017-05-16 MH Level of Care Review - Turner, Carlton.
 322
     Exh. 93, in globo 2017-8-29- Use of Force- Turner, Carlton.
 323
     Exh. 93, in globo 2017-8-29 - MH Progress Note - Turner, Carlton.
 324
     Exh. 93, in globo 2017-8-30 - MH Progress Note - Turner, Carlton.
 325
     Exh. 93, in globo 2017-8-31 - MH Progress Note - Turner, Carlton.
 326
     Exh. 93, in globo 2017-9-4 - MH Progress Note - Turner, Carlton.
 327
     Exh. 93, in globo 2017-9-18 - Unusual Occurrence Report - Turner, Carlton.
 328
     Exh. 93, in globo 2017-11-9 - Progress Note - Turner, Carlton.


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         Thomas Demarcus reports that upon presenting as suicidal he was placed on suicide watch

 for a week but was never brought to see Dr. Seal -- ever -- despite Dr. Seal being the only licensed

 treatment provider at the time. 329

         Defendants’ failure to respond meaningfully to crisis situations results in a substantial risk

 of harm for the men incarcerated at David Wade. This is a material fact bearing on whether

 Defendants provide adequate mental health care and whether an Eighth Amendment violation

 exists in this case, rendering trial necessary and summary judgment improper.

         The only response at David Wade to a mental health crisis is suicide watch. 330 Because the

 conditions on suicide watch are so punitive, there is a disincentive to report mental health needs,

 for fear of being placed on suicide watch.

                  5.    DWCC’s suicide prevention policies create a substantial risk of serious
                  harm.

         The policies and practices maintained at David Wade regarding suicide prevention create

 a substantial risk of harm to the men housed there, sufficient to create a disputed material fact as

 to prisoner safety and make a grant of summary judgment inapposite.

         When an individual presents as suicidal or poses a risk of self-harm the facility responds

 by placing that individual on “suicide watch.” This is also true even if the individual is not suicidal,

 but rather only needs intervention and mental health care. 331 David Wade does not have a mental

 health unit or even a suicide watch unit; anyone in the entire facility that is in mental health crisis

 or that is suicidal is sent to extended lockdown.332 For example, when Travis McKee had a nervous



 329
     Exh. 22, Excerpt of Deposition of Thomas 22.
 330
     Exh. 50, Excerpt of Deposition of Joshua Isaac 15:14-2 (“they don’t give us no type of mental health treatment.
 The moment we ask to speak to a psychiatrist we are put on suicide watch.”) Id., 22:6-18.
 331
     Exh. 5, Excerpt of Deposition of Francis 37; Exh. 51, Excerpt of Deposition of Matthews 20:8-9 (“Any time you
 request mental health you automatically go on suicide watch at David Wade.”)
 332
     Exh. 6, Deposition of Hayden 13-16; Exh. 10, Deposition of Burgos 109:23-110:6; Exh. 1, Deposition of Nail
 54:16-18; Exh. 7, Deposition of Dauzat 74:1-3; See also Exh. 29, Report of Haney p.43, para. 63.


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 breakdown while housed on protective custody, he was sent to extended lockdown for suicide

 watch-- not to any therapeutic setting.333

           The extended lockdown buildings are built and staffed with the purpose and policies of

 being a punitive setting; they are designed to punish and respond to prisoner misconduct. Suicide

 watch at David Wade, then, is provided in the most punitive setting available within the DOC

 system: stripped cells on the disciplinary units. This gives rise to the reasonable belief by people

 held on extended lockdown that they are being punished for having mental health needs. 334

          DWCC has two levels of suicide watch, standard and extreme. The standard suicide watch

 involves the individual being placed into a “camera cell,” which are only located on the extended

 lockdown units of David Wade. The individual can be observed by a staff member housed outside

 of the tier via camera, although that person is not responsible for documenting their

 observations.335 That staff member is also simultaneously responsible for monitoring the door to

 the building, monitoring the doors to all 4 tiers, logging who enters and exits the building and the

 tiers, checking in and out leg irons and cuffs, and, ostensibly, monitoring the “sound” being pulled

 from all 64 cells in the building. 336 There is simply no way for this individual to meaningfully

 provide “suicide watch” over an individual at risk of self-harm, in addition to all of the other tasks

 she is completing. In fact, Sec. Pacholke the need for extensive staff involvement during suicide

 watch to ensure the safety of a suicidal prisoner. 337 David Wade strips every person on suicide

 watch of all belongings and clothing-- they do not provide meaningful staff supervision of a



 333
     Exh. 57, Excerpt of Deposition of McKee 10.
 334
     See Exh. 18, Burns report p. 28.
 335
     Exh. 8, Deposition of Robinson 111:4-15.
 336
     Exh. 94, Deposition of Warden Jerry Goodwin 107:3- 109:7 (Explaining that the Key room officer is responsible
 for monitoring the audio on all four tiers, and the suicide watch cell cameras); Exh. 15, Deposition of Elmore 80:1-10
 (noting that the listening device is in the Key room and that it is the only listening device); Exh. 3, Deposition of Long
 (Explaining that the Key Room Officer is responsible for monitoring all of the tiers).
 337
     Exh 96, Deposition of Sec. Dan Pacholke 96:6 – 97:4.


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 suicidal person. In lieu of staff observation of and interaction with a person, Defendants take

 draconian measures to attempt to limit self-harm.

         While Defendants’ policy states the mental health staff can determine what clothing and

 property an individual may have, the default is to remove all property and place the individual in

 a blue paper gown.338 This includes removal of a mattress and forcing suicidal individuals to sleep

 on bare concrete for days on end. 339 This also requires removal of all books and papers. Because

 there are no televisions or radios on the tier, this means that a suicidal person is held-- naked except

 for a paper gown-- in a cell with absolutely no stimuli-- nothing to read, look at or listen to, and

 no one to talk to-- barefoot on bare concrete-- completely alone with only their thoughts. It is

 difficult to conjure a less therapeutic environment.

         Extreme suicide watch encompasses all the aspects of standard suicide watch

 (naked/barefoot, paper gown, no books, papers or other stimuli, no mattress, no direct staff

 observation) and includes an extra level of restraint or restriction. Individuals on extreme suicide

 watch may be placed in 4-point restraints in their cell, placed into the restraint chair, or placed in

 a helmet depending on the individual’s actions and attempts at self-harm.340 Warden Dauzat

 described it as “extreme suicide watch would indicate that there is a level of restraint that is not

 present in a standard suicide watch.” 341 Staff only periodically monitor the person who is in

 restraints.342

         Dr. Burns testified that, in her experience, other facilities do not use the system of standard

 and extreme suicide watch. 343 Defense expert Dr. Thompson referred to extreme suicide watch as


 338
     Exh. 6, Deposition of Hayden 137:3-8; Exh. XX, Deposition of Robinson 109:10 - 110:3.
 339
     Exh 22, Excerpt of Deposition of Thomas 22.
 340
     See Exh. 7, Deposition of Dauzat 134:11-15; Exh. 6, Deposition of Hayden 138:2-12, 138:15-17
 341
     Exh. 7, Deposition of Dauzat 134:4-6.
 342
     Exh. 49, Excerpt of Deposition of Regan 24:1-25 (on extreme suicide watch he was held shackled for three days
 before seeing anyone from mental health.)
 343
     Exh. 11, Deposition of Burns 187:19-23.


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 “draconian”344 and suggested that maybe there could be a “medi-duty” or some other level between

 standard and extreme suicide watch. 345 At the outset of this litigation David Wade utilized a

 restraint chair as a form of restraint for people on extreme suicide watch. Indeed, one individual

 died immediately following a period of time in the chair with evidence of significant trauma to his

 head and neck346 and froth built up in his airways.347 Defendants represent that they have ceased

 reliance upon the restraint chair, as was the recommendation of both the Defense and Plaintiff

 experts in this matter. 348 Steve Hayden testified that mental health staff can downgrade patients

 from extreme suicide watch to standard suicide watch without medical oversight, 349 which raises

 the question of why such a status can be implemented without a rigorous evaluation by qualified

 medical professionals. Despite Defendants’ protestations, DWCC’s current policy still allows use

 of the restraint chair.350

          In addition to being deprived of all stimuli with nothing to look at or listen to, individuals

 who are on suicide watch are subjected to extreme conditions, such as extreme cold temperatures

 during the winter months. The cells are concrete walls and floors, which can become extremely

 cold during the winter months. Individuals are not provided with a mattress or blankets, leaving

 them to sit on a cold metal bunk or cold concrete slab with only a paper gown to cover

 themselves.351 Dr. Haney testified that “prisoners complained about even being sprayed (with




 344
     Exh. 17, Deposition of Thompson 235:7-8.
 345
     Exh. 17, Deposition of Thompson 239:4-8.
 346
     Exh. 96, Death Report for Robert Baltimore, DWCC 015091-109 at 015101-02
 347
     Id. at DWCC 015105
 348
     Exh. 17, Deposition of Thompson 69:2-3 (“Dr. John Thompson, expert for Defendants, stated that “I don’t think
 you should put someone in a restraint chair.” He went on to explain that “it’d be my recommendation to start seriously
 looking at whether or not your facility really needs a restraint chair. There are other ways to do it without having to
 use that particular item.”); Exh. 40, Deposition of Haney 171:16-19.
 349
     Exh. 6, Deposition of Hayden 148:10-14.
 350 Exh. 117, Deposition of Dauzat 25:20 – 26:3.
 351
     Exh. 22, Excerpt of Deposition of Thomas 22; Exh. 41, Excerpt of Deposition of Nelson 28-30 (no mattress, paper
 gown). See also, Infra IV.B.


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 chemical agents) while they were on suicide watch.” 352 Dr. Burns testified that other facilities “put

 people on suicide watch in a more therapeutic environment such as an infirmary watch cell as

 opposed to staying in segregation." 353 And the prisoners testified that the harsh conditions on

 suicide watch are a deterrent to identifying oneself as suicidal-- no one wants to be put in a paper

 gown and housed on cold bare concrete, without access to even a mattress to sleep on, for weeks.354

 These brutal conditions lead to underreporting of needs for assistance, which poses a greater risk

 of completed suicide or untreated mental deterioration.

          The brutal conditions of suicide watch also lead prisoners to increased incidence of self-

 harm; staff do not stay on site with suicidal prisoners to prevent harm: 355

          I’m like, "Excuse me, I've been in here this long, I haven’t been on my medication." So
          they finally bring me a sick call. I tell 'em that -- I'm-I'm-I'm-I'm really feeling to the point
          where people say I'm feeling like I wanted to harm myself. So, Steve [Hayden] came and
          said, "Alright, just take all his stuff." Wasn’t worrying about medication, wasn’t worrying
          about none of that. Take all my belongings, left me in the cell with no camera, no nothing.
          Double-bunk cell. So, I'm in this. It's the holiday time, I'm feeling real depressed. So I
          really had felt – at that time I really felt like I really wanted to harm myself. So I climbed
          on the rack and jumped off, and I lost consciousness when they woke me back up.356

 Mr. White dove off the top rack of the bunks head first in an attempt to kill himself on suicide

 watch.357 And in a separate incident, he cut his wrists while on suicide watch with a piece of metal

 he found in cell, resulting in his being put on extreme suicide watch. 358

          Noel Dean once was on suicide watch for six months. Because there is no yard or recreation

 while on suicide watch, he did not go outside for six months.

 A: cut—cut—cut—yeah every day. Every time I think about it, being depressed. Well, if I was
 gon’ die, I was gon’ die by my hands, not them.”
 Q: So you were cutting yourself?
 352
     Exh. 40, Deposition of Haney 184:25-185:1.
 353
     Exh. 11, Deposition of Burns 188:21-189:3.
 354
     Exh. 19, Excerpt of Deposition of Dillon at 44. (“Please don’t put me in a gown.”)
 355
     Exh. 25, Excerpt of Deposition of White 24-25.
 356
     Exh. 25, Excerpt of Deposition of White 19-20.
 357
     Exh. 25, Excerpt of Deposition of White 25-26.
 358
     Exh. 25, Excerpt of Deposition of White 31-32


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 A: Yes sir.
 Q: Okay. And how many times did you cut yourself?
 A: Sometimes two or three times a day.
 Q: what were you cutting yourself with if you were on strip cell?
 A: You got iron in the cell. You can take any kinda piece of metal and make a little shim.”   359


 Mr. Dean goes on to discuss being put in restraints and trying to kill himself in restraints. The

 punitive conditions of suicide watch at David Wade drive prisoners to greater self-harm, and staff

 are not present to prevent it. The suicide watch policies and practices create a substantial risk of

 harm to the men incarcerated at David Wade, such that summary judgment cannot be granted and

 this matter should proceed to trial.

         B.   Inadequate Record Keeping At DWCC Creates A Substantial Risk Of Serious
         Harm

         As noted elsewhere in this pleading, DWCC consistently fails to properly document the

 activities, treatment or contacts with mental health staff. 360 But it bears mentioning that the

 deficient record-keeping is so troublesome that it creates its own risk of harm to the men housed

 at David Wade. The documentation completed by the psychiatrist Dr. Gregory Seal was found to

 be insufficient as it is nearly impossible to read or interpret. 361 Dr. Burns testified that when an

 individual is on suicide watch, “the nurses on the weekends did not provide documentation of

 those cell-side visits.”362 Additionally, Dr. Thompson opined that one of the areas that DWCC

 “performed really poorly in, it’s documentation.” 363 There is no dispute that DWCC’s practices

 around documentation are deficient and require change. The below-standard record keeping

 practices create a substantial risk of serious harm to the men housed at David Wade, because even

 if all of the substantive deficiencies in care were remedied tomorrow, no medical or mental health


 359
     Exh. 43, Excerpt of Deposition of Dean, 24- 25.
 360
     See, Supra, III.A.1-5
 361
     See Exh. 7, Deposition of Dauzat; Exh. 17, Deposition of Thompson.
 362
     Exh. 11, Deposition of Burns 189:19-25.
 363
     Exh. 17, Deposition of Thompson 168:13.


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 providers could work together or with security staff to provide care. The record-keeping,

 supervisory and communication systems are so anemic that staff could not coordinate care even if

 more robust care were offered.

         C.    The Brutal and Isolated Conditions of Confinement at David Wade Create a
         Substantial Risk of Serious Harm

         Operating in tandem with the mental health systemic failures outlined above, DWCC’s

 security-side practices pertaining to conditions of confinement, force and prolonged isolation

 function to exacerbate the risk of harm to people housed there, in violation of the Eighth

 Amendment. All individuals who arrive at DWCC are placed in segregation on extended lockdown

 upon arrival,364 including people with serious mental illnesses. The brutal conditions in these

 punitive housing units create a serious risk of harm such that conditions at the facility violate the

 Eighth Amendment.

                  1.       Defendants’ Policy 34 creates a substantial risk of serious harm.

         David Wade maintains an institution-specific disciplinary policy called “Offender Posted

 Policy 34.”365 The policy on its face provides that an individual may be subjected to solitary

 confinement with no clothing other than a paper gown, and no property, recreation, mattress or

 bedding for a period of up to thirty (30) days for certain enumerated offenses. 366 Mental health

 staff are not consulted prior to an individual being placed on this status, 367 and the policy is often

 applied to people with serious mental illness. 368 These conditions mirror those of suicide watch,

 with the end result that the same conditions intended to prevent an individual from engaging in



 364
     Exh. 10, Deposition of Burgos 195:9-12.
 365
     Exh. 97, Offender Posted Policy No. 34.
 366
     Id.
 367
     Exh. 6, Deposition of Hayden 155:21-23; Exh. 7, Deposition of Dauzat 160:19-24; Exh. 8, Deposition of Robinson
 229:11-16; Exh. 1, Deposition of Nail 178:1-3.
 368
     Exh. 25, Excerpt of Deposition of White 9.


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 suicidal behavior are also used to punish individuals for disciplinary behaviors. 369 This policy, and

 subsequent conditions, are imposed by security staff without any appearance before the

 disciplinary board,370 and therefore with no due process. Although ostensibly limited to certain

 enumerated offenses, the status can be and is imposed for much more minor transgressions. 371

 These punishing conditions may be imposed for 30 days at a time before a brief break wherein the

 individual is permitted to have clothing and bedding for a few days 372 prior to being placed back

 on strip cell, again with no due process protections.

         Individuals with serious mental illness may have a harder time conforming to rules such as

 modulating speech or other erratic behaviors. Allowing staff to punish people in the most

 draconian conditions imaginable without passing such disciplinary actions through any mental

 health review, or even a formal disciplinary board that could theoretically account for a person’s

 mental health needs, creates a very high risk of harm to all people, and particularly people with

 mental illness. Dr. Haney opined that Policy 34 is “an even worse form of punishment that can be

 administered at the complete discretion of the DWCC correctional staff” in “response to anything

 a staff member perceives as a rule violation.” 373 Dr. Haney noted that “this additional punishment

 is imposed without affording the prisoner any procedural safeguards or due process protections

 (such as a hearing).”374 Col. Nail testified that the list of individuals eligible for punishment with




 369
     See Exh. 18, Burns Report at p.28.
 370
     Exh. 97, 2013-11-08 OPP 034 Maximum Custody Housing - General, strip cell status at DWCC 105253-105256.
 371
     Exh. 98, in globo, May 14, 2018 Use of Force DWCC 004658-62 (Alvin Ball and Joshua Martin placed on DOPPS
 34 for hollering and racking bars); Dec. 31, 2017 Decision Form DWCC 0120979 (refusing to pass back a dinner
 tray); Mar. 31, 2018 Decision Form DWCC 120890 (broken light fixture in cell); June 11, 2015 (policy 34 applied to
 Torre Huber who turned out to have early onset dementia); July 7, 2017 Disciplinary Report DWCC 028417
 (attempting to flush paper gown); Aug. 6, 2017 Use of Force DWCC 003611-18 (spitting on his own dinner tray);
 Jan. 27, 2018 Use of Force DWCC 004157-62 (throwing a book); May 22, 2017 Use of Force DWCC 005886-94
 (pulling away while being handcuffed)
 372
     Exh. 1, Deposition of Nail 178:1-3
 373
     Exh. 29, Haney Declaration at p. 47, para.70.
 374
     Exh. 29, Haney Declaration at p.47, para. 71.


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 Policy 34 was kept on a rolodex on his desk. 375 Sec Pacholke testified that he agrees with the

 Defendant’s expert, Mr. Upchurch that Policy 34 is inconsistent with the ACA standards as well

 as accepted correctional practices. 376 He went on to testify that Policy 34 is akin to torture noting,

 “I think strip cell status is torture.· I think taking all property out of a cell and leave people with a

 paper covering that breaks about their knees in the middle of the night is equivalent to sleep

 deprivation.”377 Because this system of severe punishment operates completely outside of the

 sphere of mental health review and any formal disciplinary proceedings but applies to people with

 serious mental illness, it places all individuals at David Wade at risk for the development or

 worsening of mental health symptoms.

                  2.      Defendants’ excessive use of force and staff abuse of people with SMI
                  creates a substantial risk of serious harm.

         The men housed on the South Compound at DWCC are subject to conditions that alone

 and in combination with one another create a substantial risk of serious harm. Described below are

 (1) use of force policies that employ chemical and physical restraint with very few (if any) attempts

 at de-escalation; (2) write ups, force, and extrajudicial punishment used on men who are in extreme

 mental health crisis; (3) physical and social isolation; and (4) a severely curtailed to communicate

 with loved ones. These conditions individually create a risk of harm and when combined that risk

 only escalates to exceed the threshold of an Eighth Amendment claim and send this case to trial.

         People at David Wade are subjected to excessive use of chemical agents. 378 Chemical

 agents are often used for refusal to come to the bars. 379 Chemical agents are used for people talking




 375
     Exh. 1, Deposition of Nail 46:20 - 49:19.
 376
     Exh. 95, Deposition of Sec. Pacholke 350:1-13
 377
     Id. at 285: 3-8
 378
     Exh. 19, Excerpt of Deposition of Dillon, 10.
 379
     Exh. 19, Excerpt of Deposition of Dillon, 56.


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 too loudly,380 including people asking loudly for medicine, or clapping. 381 However, “racking the

 bars” (making noise) is often the only way to get staff to come on the tier to assist or answer

 questions.382 The abusive use of chemical agents is part of the culture set by the highest levels of

 administration at David Wade, sending a message to staff that it is permissible to use chemicals

 excessively against the most mentally ill people held there. 383 Staff will use chemical agents

 without activating body cameras, to avoid documentation.384 Chemical agents are used against

 people on suicide watch who are housed in paper gowns.385 Larry Jones, a named Plaintiff in this

 matter, was sprayed with chemical agents for requesting mental health help and requesting to be

 taken off of suicide watch.386

         People housed on extended lockdown also receive write-ups and are sprayed for attempting

 suicide. On April 10, 2017, John Booth wrapped a jumpsuit around his neck after declaring himself

 suicidal.387 Mr. Booth did not comply with an order to remove the jumpsuit and so Sgt. Wallace

 sprayed him and gave him a write-up for aggravated defiance. 388 Damian Clark cut his wrist and

 wrote in blood on his cell walls. 389 Mr. Clark was taken from his cell, became argumentative, and

 then was sprayed with chemical agent and given a write-up for aggravated defiance. 390 Brad Rison




 380
     Exh. 14, Deposition of Coleman 129:2-7
 381
     Exh. 19, Excerpt of Deposition of Willie Dillon 57; Exh. 22, Excerpt of Deposition of Thomas 23-24; Exh. 63,
 Excerpt of Deposition of Covington 13:11-24.
 382
     Exh. 5, Excerpt of Deposition of Francis 41; Exh. 54, Excerpt of Deposition of Jones 31; Exh 14, Deposition of
 Coleman 133: 9-19.
 383
     Exh. 24, Excerpt of Deposition of Solomon 37:2-40:1 (Col. Nail v. Cody Doucet).
 384
     Exh. 5, Excerpt of Deposition of Francis 10; Exh. 23, Excerpt of Deposition of Doucet 47:22-25; 48:5-16.
 385
     Exh. 25, Excerpt of Deposition of White 33-34; Exh. 1, Deposition of Nail 188:19-13; Exh 15, Deposition of
 Elmore 74:9-17 (Noting that the policy regarding the use of spray does not change when a prisoner is on suicide
 watch).
 386
     Exh. 99, in globo, May 14, 2018 Use of Force Review DWCC 004839-50 (Plaintiff sprayed for yelling while
 requesting to be taken off suicide watch)
 387
     Exh. 99, in globo, April 10, 2017 Use of Force DWCC 003265-81
 388
     Exh. 99, in globo, Id. at DWCC 003281
 389
     Exh. 99, in globo, June 6, 2017 Use of Force DWCC 003316-32
 390
     Exh. 99, in globo, Id. at DWCC 003332


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 declared himself suicidal and retrieved a sheet from his laundry bag.391 He was sprayed and given

 a write-up for aggravated disobedience. 392 On March 16, 2018, Alvin Ball tied a sheet around his

 neck and declared himself suicidal. 393 Mr. Ball was sprayed and issued a write-up for causing a

 disturbance.394 Chris Solomon, a U.S. Army veteran, 395 was sprayed and issued a write-up because

 he “refused” to stop talking to himself or banging his head on the cell bars. 396 Using spray and

 issuing disciplinary sanctions to a person for disobeying an order not to attempt suicide reflects

 barbaric and unacceptable attitudes towards mental illness.

         People are intentionally exposed to extreme cold temperatures to punish them when they

 are on suicide watch. 397 Windows are opened during freezing temperatures while people are

 housed naked- without shoes- in only paper gowns.398 Prisoners call it “bluesing” and describe it

 as torture.399 Staff intentionally expose severely mentally ill people to freezing temperatures as

 retaliation for talking loudly. 400 People naked on suicide watch are laughed at for asking for a

 mattress in the cold. 401 “You cold? You still cold?”402

         Staff are indifferent to the mental health needs of prisoners.403 People who seek mental

 health care are made fun of, mocked or retaliated against. 404 Prisoners who help other prisoners




 391
     Exh. 99, in globo, July 8, 2017 Use of Force DWCC 003466-70
 392
     Exh. 99, in globo, Id at DWCC 003470
 393
     Exh. 99, in globo, Mar. 6 2018 Use of Force DWCC 004486-517
 394
     Exh. 99, in globo, Id. at DWCC 004512
 395
     Exh. 24, Excerpt of Deposition of Solomon 7:21-25
 396
     Exh. 99, in globo, July 8, 2019 Disciplinary Write-up DWCC 179279
 397
     Exh. 25, Excerpt of Deposition of White 9.
 398
     Exh. 19, Excerpt of Deposition of Dillon 70-72; Exh. 43, Excerpt of Deposition of Dean 34; Exh. 22, Excerpt of
 Deposition of Thomas 25-26; Exh. 32, Excerpt of Deposition of McDowell 27-29; Exh. 63, Excerpt of Deposition of
 Covington 12:17-22.
 399
     Exh. 50, Excerpt of Deposition of Joshua Isaac 17:20-18.
 400
     Exh. 100, Excerpt of Deposition of Dameion Brumfield 17-18.
 401
     Exh. 25, Excerpt of Deposition of White 9.
 402
     Exh. 25, Excerpt of Deposition of White 29-33.
 403
     Exh. 19, Excerpt of Deposition of Dillon, 10
 404
     Exh. 25, Excerpt of Deposition of White 9; Exh. 19, Excerpt of Deposition of Dillon 10


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 file requests for help are retaliated against. 405 Christopher Solomon reports one time when he was

 on suicide watch, “chained up with no mattress, stuck on a rock.” 406 When he asked to see mental

 health, Major Coleman mocked him. “He was like, ‘Ain't nothing wrong with you. You ain't

 talking to no mental health.’ And he told me, ‘You ain't crazy. You crazy? Let me see you run

 your head in the bars.’ And I ran my head into the bars. And he sprayed me. And then he called

 Mental Health.” 407

         The staff’s complete indifference to suffering is a very common thread in Plaintiffs’

 experiences. One man explains,

         ”Ain’t nothing wrong with you. There ain’t nothing wrong with you. There’s
         nothing wrong with you.” This dude just finished slinging sh—feces out his cell
         and you’re talking about “he’s fine”? You serious? I live around these guys. All
         night I hear screaming and they crying for help, but here’s the administration
         they’re like, “oh they’re okay, they’re alright over here.” 408

 Multiple people substantiate this attitude of indifference among staff.

         Some of them will just ignore it. They told me if I'm having a problem they ain't
         gonna move me out the cell until they see me hurt myself or if I -- gotta get into it
         with my celly. Or sometimes tell 'em -- I let 'em know that I'm having mental health
         problems, and they'll be like, "We -- we – we ain't worrying about you. You ain't
         hanging yourself. You ain't trying to cut yourself or anything like that." And I'm
         letting them know that I -- I'm having mental health issues and all that. And they're
         not trying to hear what I'm saying. They're telling me to go ahead and kill myself
         or either cut myself or show 'em that I'm serious. Or letting 'em know that I'm trying
         to get out the cell to have some -- some "me time" because I'm going through some
         mental health things. They just ignore it. 409

 Thomas Demarcus reported that when he told one staff member he was suicidal; staff response

 was just “don’t do it on my shift.”410




 405
     Exh. 100, Excerpt of Deposition of Brumfield 19-22.
 406
     Exh. 24, Excerpt of Deposition of Solomon, 26:11-13.
 407
     Exh. 24, Excerpt of Deposition of Solomon 27:1-11.
 408
     Exh. 19, Excerpt of Deposition of Dillon at 10-11.
 409
     Exh. 48, Excerpt of Deposition of Chevalier 20.
 410
     Exh. 22, Excerpt of Deposition of Thomas 21.


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          Prisoners recount staff forcing a very mentally ill man (who often “played with” his feces)

 to bark like a dog for food.411 Staff behavior is cruel, and it can also be lethal. 412 Staff mocked this

 litigation and the men participating in it, as well as counsel.413

          People housed on extended lockdown at David Wade are confined to their cells for 23

 hours per day. Although policy provides that they can go outside for one hour per day, 414 most

 men on extended lockdown are on “yard restriction” and can only go outside one hour per week.

 Even that is often not provided. 415 Thus as a practical matter the only out-of-cell time many

 individuals get daily is their opportunity to shower. Although policy provides that a shower should

 be provided daily, people are not always allowed to shower.416 Staff dislike having to transport

 prisoners on the tier for showers, so they pressure people to “give up” their showers. Individuals

 will forfeit showers to staff in exchange for other privileges (like extra food, or just to curry staff

 favor).417 Staff leave windows open in the winter to make it cold on the tier such that people do

 not want to shower.418 When people are denied recreation and shower, they are confined 24 hours

 per day in a small cell, often alone but sometimes with a cellmate.




 411
     Exh. 100, Excerpt of Deposition of Brumfield 14-15; 75-76; Exh. 101, Excerpt of Deposition of Edward Polk 24:7-
 24.
 412
     Exh. 100, Excerpt of Deposition of Brumfield 80-81 (Terrance Goodeau asked to see mental health, was
 disregarded before killing himself.)
 413
     Exh. 25, Excerpt of Deposition of White at 10; Exh. 19, Excerpt of Deposition of Dillon at 64-66; Exh. 48, Excerpt
 of Deposition of Chevalier 33; Exh. 22, Excerpt of Deposition of Thomas 34-36; Exh. 32, Excerpt of Deposition of
 McDowell 14; Exh. 54, Excerpt of Deposition of Jones 40.
 414
     Exh. 102, Offender Posted Policy #035.
 415
     Exh. 38, Excerpt of Deposition of Quentin Moran 24.
 416
     Exh. 51, Excerpt of Deposition of Mookie Matthews 17:5--17; Exh. 49, Excerpt of Deposition of Regan 25:13-24
 (been denied showers many times); Exh. 100, Excerpt of Deposition of Brumfield 75.
 417
     Exh. 19, Excerpt of Deposition of Dillon 10, 58-61; Exh. 20, Excerpt of Deposition of Bellard 34:2-21; Exh. 49,
 Excerpt of Deposition of Regan 26:1-30 (some staff will barter food for forfeiting shower). Exh. 103, Excerpt of
 Deposition of Kenneth Webster 63:7--25 (staff use food to bribe you out of your shower) and 64:1--11 (he sold his
 shower because he did not have enough food).
 418
     Exh. 32, Excerpt of Deposition of McDowell 10; Exh. 54, Excerpt of Deposition of Jones 12.


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          Although policy provides men on extended lockdown one phone call per month 419, which

 serves as a singular lifeline to the outside world for many people, those calls are afforded only

 sporadically and are sometimes denied. 420 Conditions are constantly noisy, staff are often

 belligerent and rude, heat precautions are not followed, men are only allowed limited items to

 occupy their minds including at most 3 books and one religious text. 421 In this culture, weaker or

 more vulnerable prisoners are often abused or overlooked to a point of extreme deterioration. 422

          People are placed in lockdown, and therefore made to suffer under the conditions described

 above, for extended periods of time without penological justification. Joshua McDowell spent six

 months on extended lockdown for falling asleep in school in general population. 423 Willie Dillon

 was housed at DWCC for the last several years, on lockdown, except for five or six months when

 he went to Elayn Hunt for some court matters. While at Elayn Hunt he participated in therapy that

 was very helpful to him. 424 While at Elayn Hunt he worked as an inmate social worker, 425

 functioning as a “diffuser” to try to talk to prisoners who were upset to calm them down. Mr.

 Dillon had no write-ups while at Hunt.426 Then was sent right back to lockdown at DWCC, where

 he was left to live in the most punitive conditions possible, despite having clearly demonstrated

 that he is capable of being successful in less restrictive environments.




 419
     Exh. 102, Offender Posted Policy #035.
 420
     Exh. 38, Excerpt of Deposition of Moran 26; Exh. 51, Excerpt of Deposition of Matthews 16:8-25.
 421
     Exh 104, Offender Posted Policy # 036
 422
     Exh. 20, Excerpt of Deposition of Bellard 39:1-12-40; 40:13-24 (discusses abuse of Cody Doucet, potential rape
 of Cody Doucet.); Exh. 50, Excerpt of Deposition of Isaac 29:23-30 (noting that prisoner A.J. only gets to shower
 every month or two; 30:18-31:8 noting that A.J. flies a spaceship inside of his cell.); Exhibit 21, Excerpt of Deposition
 of Ratcliffe 22:12-23 (observing the deterioration of two men on lockdown who did not get to shower, would hit the
 wall and talk to themselves-- without staff intervention.)
 423
     Exh. 32, Excerpt of Deposition of McDowell 18-19.
 424 Exh. 19, Excerpt of Deposition of Willie Dillon 39-40.
 425
     Exh. 19, Excerpt of Deposition of Dillon 20-21.
 426
     Exh. 19, Excerpt of Deposition of Dillon 23.


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         Mr. Dillon was sent to David Wade because of a fight he had at Angola in November 2017.

 Mr. Dillon’s classification status was reviewed by 4 classification review boards over a period of

 19 or 20 months with no write-ups and he was still held in solitary. He had no write-ups at David

 Wade and yet his status was not changed. He went to Elayn Hunt and had no write-ups there, and

 was remanded back to DWCC with again no writeups. Mr. Dillon was not released from lockdown.

 Ultimately, as happens to most people, he received another wrote-up-- in June 2019.427

         People go for many months at a time without a write-up, but nonetheless remain on

 extended lockdown. In September 2019, Ronald Brooks, a named plaintiff in this matter, had been

 on extended lockdown without a write-up since March 2019.428 That same month, Carlton Turner

 remained on extended lockdown despite not having received a write-up since October 2018.429

 Others, including Andre Evans, Brandon Jackson, Willie Hayes, Laron Brown, Frederick

 Sheppard, Freddie Williams, Christopher Taylor, John Cunningham, Clyde Anderson, Jeremy

 Coleman, and Azarius Heard had similarly all been without write-ups since March 2019, but

 nonetheless remained on lockdown. Frankie Adams, Benjamin Watkins, Jeremey Perot, Dontrevel

 Mitchell, Lawrence Brue, Matthew Mobley, and Tywaski King hadn’t had a write-up since

 February 2019, but still remained on lockdown.430 Still other people hadn’t had a write-up in that

 calendar year: Joshua Mosely and Gregory Kelley since November 2018, Michael Couch and

 Juvonte Turner since December 2018, Raymond Broussard since October 2018, Xavier Heard

 since May 2018, Darius Dowell since September 2018, James Oscar since October 2018, Raymond

 LeBlanc since July 2018, and Jerrod Johnson since March 2018.431




 427
     Exh. 19, Excerpt of Deposition of Willie Dillon 69.
 428
     Exh. 105, Sept. 2019 Continuous Confinement Report DWCC 195947-54 at 195951.
 429
     Id. at 195954
 430
     Id. at 195947-54
 431
     Id.


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        This pattern continues into 2020. For example, Jose Castro hadn’t had a write-up for more

 than a year before arriving at DWCC and being placed on extended lockdown, he never got a new

 write-up but remained on extended lockdown for more than three months. 432 Matthew Carroll,

 Drayfus Bob, Justin Craft, James Doyle, Timothy Hill, and Brandon Allwell also remained on

 extended lockdown despite having gone for more than four months without a write-up.433 Gregory

 Kelley, Raymond LeBlanc, and Jerrod Johnson each remained on extended lockdown in January

 of 2020 despite their most recent write-ups having been in 2018. 434 These examples demonstrate

 that simple compliance with institutional rules does not protect an individual from a lengthy stay

 in solitary confinement.

        Shawn Francis has been on extended lockdown at David Wade for over four years. He does

 have an extensive disciplinary history, but twice he has gone six month stretches with no write-

 ups, only to be kept on extended lockdown due to his prior history. 435 This makes people lose hope

 and go insane, because they feel like they can never get out. If one follows the rules for 180 days

 and still is not released to try general population-- hope is lost. Likewise, Jawaan Chevalier (who

 also has an extensive disciplinary history) does not feel he has any chance of leaving extended

 lockdown, explaining that he has gone months without disciplinary infractions and is not moved.436

 Theron Nelson (who has a very long disciplinary history as well) says “They don’t give us a chance

 to prove that we could be, you know, more better than we are. … They don’t ever give us a chance

 to prove that we did change.”437 People get stuck in extended lockdown in the brutal conditions

 expounded upon herein. The staff culture, lack of treatment and stark conditions create a cycle of



 432
     Exh. 106, January 2020 Continuous Confinement Logs DWCC 195977
 433
     Id. at DWCC 195981-82
 434
     Id. at DWCC 195982
 435
     Exh. 5, Excerpt of Deposition of Francis 41-42.
 436
     Exh. 48, Excerpt of Deposition of Chevalier 29.
 437
     Exh. 41, Excerpt of Deposition of Nelson 15.


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 discipline and punishment that many people struggle to escape from. These conditions cause a

 serious risk of harm to all people, and particularly people with serious mental illness, who may

 need interventions to assist them with being safe and successful in the David Wade environment.

                  3.      Defendants’ prolonged use of solitary confinement poses a substantial risk
                  of serious harm.

         Individuals who are held in restrictive housing for prolonged periods of time are at risk for

 worsening mental health symptoms or development of new symptoms. 438 As chronicled supra

 III.A., individuals are placed in prolonged lockdown without regard to the effect on their mental

 health. Staff were able to recall only occasional transfers to a more therapeutic setting. 439 Incident

 reports from Wade chronicle people swallowing razors, 440 self-mutilation of the face, 441 slicing

 open scrotums,442 attempting to slice off ear, 443 writing on the walls in blood, 444 head-banging,445

 eating a lightbulb446 while no additional mental health services are made available at this facility.

 The conditions at David Wade exacerbate and cause mental illness. 447

         Shawn Francis has been on extended lockdown for more than four years. He is a person

 that is diagnosed with bipolar schizophrenia. He has been unable to secure his release from

 lockdown. Mr. Francis reports that after living so long on extended lockdown he can only be in a



 438
     Exh. 29, Haney Declaration at p.6, 8, 34.
 439
     Exh. 6, Deposition of Hayden 168:14-18; 170:7-24 (two people transferred in past 6 months);
 440
     Exh. 107, in globo, Feb. 29 2016 Use of Force Review DWCC 005418-36 (incident involving Jesse Sullivan); Feb
 29 2016 Use of Force DWCC 005437-57 (incident involving Joshua Musser); July 5, 2016 Use of Force DWCC
 006112-25; Aug. 29, 2017 Use of Force DWCC 003627-37
 441
     Exh. 107, in globo, August 12, 2016 Use of Force DWCCC 006475-96
 442
     Exh. 107, in globo, April 30, 2016 Use of Force DWCC 005729-59 (Joshua Musser); Aug. 12 2016 Unusual
 Occurrence Report DWCC 013935 (Carlton Turner)
 443
     Exh. 108, 2016-8-11- Use of Force- Musser, Joshua
 444
     Exh. 109, in globo, 2016-8-6- Use of Force- Greenup, Levi; Exh. XX 2017-6-6- Use of Force- Clark, Damian; Exh.
 XX 2019-5-22 - Unusual Occurence Report - Sullivan, J.
 445
     Exh. 110, in globo, Sept. 10, 2018 Use of Force DWCC 103446; July 8, 2019 Disciplinary Write-up DWCC 179279
 (also issued a disciplinary report for aggravated disobedience)
 446
     Supra III(A)(4).
 447
     Exh. 38, Excerpt of Deposition of Moran 27 (developed clinical depression); Exh. 57, Excerpt of Deposition of
 McKee 22 (prior to conditions at DWCC only was diagnosed with clinical depression, now has another dx).


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 cell by himself. Being around other people is very hard for him and he is paranoid, thinking that

 other people are going to harm him. 448 With the exception of 3 months, Theron Nelson has been

 on extended lockdown at David Wade for almost ten years. Mr. Nelson is a person with a disability

 and a serious mental illness. He struggled to communicate in his deposition, explaining “These

 cells done made me messed up in the mind that I can’t communicate with people.” 449 Mr. Nelson

 explains what it’s like to be locked in a cell, and also locked in one’s own mind with a serious

 mental illness in lockdown-- a torture that most of us cannot even imagine.

         I done went through my going -- having -- was hearing voices, ramming my head
         on the locker box, beat my head on the wall. That's why I got this permanent mark
         right here on my head. Try to cut myself. Try to hang myself multiple times. They
         had to cut me down. I go through my, you know, my mental stages. And you know,
         sometimes I just – the cells -- the walls close in on me, to where I go to hearing
         things. And just do the -- do whatever the voice tell me to do. Stuff like that. 450

 Joshua Isaac, who has been locked down for two years,451 testified that he feels boxed in, trapped,

 catches himself having conversations with himself. He believes he would function better in general

 population. 452

         Tyroderick Foster was incarcerated at David Wade from 2015 through 2018. He spent the

 entire three and a half years on extended lockdown.453 He is diagnosed with paranoid-

 schizophrenia and bi-polar disorder.454 While at David Wade, Mr. Foster received only medication;

 “I need better treatment--counseling. And get us more better on call mental health staff who know-

 - if we do have a problem, they can be on hand to where we can call ‘em and we can speak to

 ‘em.”455 After more than three years of being housed in the conditions outlined above, Mr. Foster


 448
     Exh. 5, Excerpt of Deposition of Francis 42-43.
 449
     Exh. 41, Excerpt of Deposition of Nelson 12.
 450
     Exh. 41, Excerpt of Deposition of Nelson 27-28.
 451
     Exh. 50, Excerpt of Deposition of Isaac 11:1-4.
 452
     Exh. 50, Excerpt of Deposition of Isaac 24:8-25:5.
 453
     Exh. 111, Excerpt of Deposition of Tyroderick Foster 10:3-19.
 454
     Exh. 111, Excerpt of Deposition of Foster 14:2-3.
 455
     Exh. 111, Excerpt of Deposition of Foster 27:17-21.


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 was released back into his community. He did not receive any re-entry programs or transitional

 services-- he was released straight from solitary confinement back to the streets. 456 Upon release,

 he had a very hard time communicating with people and figuring out how to talk to his family.457

 Mr. Foster was rearrested and is back at David Wade, on extended lockdown.

         Every person that arrives at David Wade is housed on extended lockdown for a substantial

 period of time.458 Dr. Haney reported that “most of the men [he interviewed] reported being

 confined in extended lockdown/solitary confinement at DWCC for a period of years, not

 months.”459 The risk of individuals with mental illness being housed in restrictive housing was

 even recognized by Defendants’ expert, Dr. John Thompson.460 When considering whether an

 individual should be housed in restrictive housing, Dr. Thompson stated “as psychiatrists we have

 to interface with that in a way that informs the folks that are gonna put people in those

 administrative segregation situations” and considering “what kind of mental illness does this guy

 have and is he gonna do okay or worse and how much time would be reasonable for them to be in

 there to fix whatever disciplinary issue there is, but also be aware that they have issues and those

 issues could get worse.”461 Dr. Thompson additionally opined that policies and procedures “should

 have some caveats for the mentally ill folks so that we’re not just putting them into the same bucket

 as everybody else and not giving them the same program that everybody else is having. 462




 456
     Exh. 111, Excerpt of Deposition of Foster 28:1-13.
 457
     Exh. 111, Excerpt of Deposition of Foster 28:18-23.
 458
     Exh. 32, Excerpt of Deposition of McDowell 18; Exh. 3, Deposition of Long 59:7-60:21; Exh. 1, Deposition of
 Nail 54:5-15; Exh. 112, Deposition of James Jimmerson 91:23-95:18 (explaining that a person transferred into DWCC
 would only go directly to the North Compound under extraordinary circumstances such as needing to be placed in the
 infirmary).
 459
     Exh. 29, Haney Declaration at p.58 para.95.
 460
     Exh. 17, Deposition of Dr. Thompson 266:16 - 267:2.
 461
     Exh. 17, Deposition of Thompson 67:5-14.
 462
     Exh. 17, Deposition of Thompson 200:2-6.


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         Defendants assert that individuals are not housed in restrictive housing at David Wade for

 prolonged period of time. 463 Plaintiffs dispute this allegation, and such an assertion is belied by

 Defendants’ own documents. As a prerequisite for accreditation by the American Correctional

 Association (ACA) David Wade is required to maintain “continuous confinement logs” showing

 the length of time individuals are held in cell confinement. 464 David Wade also is required to

 submit those reports monthly to the Department of Corrections, in the form of CO-5 reports.465

 Plaintiffs requested all of these documents in discovery.466 Despite the fact that the documents are

 required for accreditation, and the fact that Defendants have to submit the reports regularly to their

 supervisors, Defendants had a difficult time locating them and some ultimately could not be

 found.467 It is noteworthy that forms intended to serve as a backstop or institutional check on the

 over-detention of people in segregated housing could not be located, because presumably neither

 Warden Goodwin nor Secretary LeBlanc can exercise review over the propriety of prolonged

 detention if they do not have the records-- which means that people will languish in extended

 lockdown with no supervisory review.

         The documents that were obtained by Plaintiffs indicate that Defendants’ representations

 to the Court about the truncated lengths of stay on extended lockdown are inaccurate. Specific

 examples include: according to the April 2019 continuous confinement report produced by DWCC

 Jamine Felton spent 4 years, 8 months and 26 days in extended lockdown; 468 the September 2019

 the report shows Carlton Turner as having been in extended Lockdown for 2 years, 9 months, and


 463
     Rec. Doc. 414-1, point 24.
 464
     Exh 94, Deposition of Warden Goodwin 154:10-22
 465
     Id. at 69:15-72:16
 466
     See Exh 44 - Plaintiffs’ Eighth Set of Requests for Production, Nos. 108, 109, and 113.
 467
     Exh. 113, 2019-7-8 - Defendants_ Responses to Plaintiffs_ Eighth Set of Discovery; Exh. 114, 2020-8-6 - Email
 with agenda items for meet and confer; Exh. 114, 2020-8-12 - Follow up after Meet and Confer re. RFP 113;
 Subsequently, Defendants produced some continuous confinement reports on December 16, 2019 and Plaintiffs’ have
 not received a supplement since then.
 468
     See Exh 115, April 2019 Continuous Confinement report


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 14 days and Jeremy Ricard having been there for 3 years, 3 months and 19 days. 469 As of March

 2020 John Booth had spent 3 years, 2 months and 14 days on extended lockdown.470 This list is

 not exhaustive, yet clearly demonstrates that the men at DWCC are subjected to periods of time

 on lockdown in excess of years.

            This prolonged period of time on lockdown in the punitive and harsh conditions outlined

 herein and without access to a functioning mental health care system operate independently and in

 combination to create a substantial risk of harm to the men at David Wade.


 IV.        CONCLUSION

            The conditions of confinement at David Wade violate the Eighth Amendment. The

 Plaintiffs have clearly raised serious disputes as to material facts that tend to show that the

 conditions at David Wade violate the rights of the men housed there. Plaintiffs certainly have

 shown adequate facts to be entitled to a trial on the merits in this matter, and to overcome

 Defendant’s assertion that there are not material facts in dispute. Accordingly, Defendants’ motion

 should be denied, and this matter should proceed to trial, to allow for relief for the men housed at

 David Wade who have been hoping for Court intervention for over three years.



                                                             Respectfully submitted,


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 469
       See Exh 116, September 2019 Continuous Confinement Report.
 470
       See Exh 117, March 2020 Continuous Confinement Report.


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